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           Composite
           Exhibit C
                 Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 2 of 78




                                                                                                                        MC4 / ALL
                                                                                                     Transmittal Number: 25152509
Notice of Service of Process                                                                            Date Processed: 07/01/2022

Primary Contact:           Ms. Mona Cohen
                           Assurant
                           11222 Quail Roost Dr
                           Miami, FL 33157-6596

Entity:                                       American Security Insurance Company
                                              Entity ID Number 1874436
Entity Served:                                American Security Insurance Company
Title of Action:                              Delmar Scott Meyer vs. American Security Insurance Company
Matter Name/ID:                               Delmar Scott Meyer vs. American Security Insurance Company (12511902)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Santa Rosa County Circuit Court, FL
Case/Reference No:                            22-CA-385
Jurisdiction Served:                          Florida
Date Served on CSC:                           07/01/2022
Answer or Appearance Due:                     20 Days
Originally Served On:                         Chief Financial Officer on 06/29/2022
How Served:                                   Electronic SOP
Sender Information:                           Insurance Litigation Group, P.A
                                              786-529-0090

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                    Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 3 of 78
                                                                                                  *2200021821./*

 CHIEF UNANCIALOFHCER
 JIMMY PATRONIS
      S rAIE Of FLORIDA




                                                                       CASE #:    22000385CAMXAX
DELMAR SCOTT MEYER
                                                                       COURT:     CIRCUIT COURT
                                                                       COUNTY:    SANTA ROSA
PLAINTIFF(S)                                                           DFS-SOP #: 22-000218211

VS.

AMERICAN SECURITY INSURANCE COMPANY

DEFENDANT(S)

SUMMONS, COMPLAINT, DISCOVERY, X1-27428-NOTICE OF DESIGNATION OF EMAIL.PDF.PDF




                                 NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on Wednesday,
June 29, 2022 and a copy was forwarded by ELECTRONIC DELIVERY on Friday, July 1, 2022 to the
designated agent for the named entity as shown below.


           AMERICAN SECURITY INSURANCE COMPANY
           LYNETTE COLEMAN
           1201 HAYS STREET
           TALLAHASSEE, FL 32301




*Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not responsible
for transmittal of any subsequent filings, pleadings, or documents unless otherwise ordered by the Court
pursuant to Florida Rules of Civil Procedure, Rule #1.080




                                                                       Jimmy Patronis
                                                                       Chief Financial Officer




FAITH EVERETT
INSURANCE LITIGATION GROUP
17021 NE 6Th AVE L-R
NORTH MIAMI BEACH, FL 33162
                                                                                                         GC1




                                       Office of the General Counsel Service of Process Section
                                                                   -



                           200 East Gaines Street P.O. Box 6200- Tallahassee, FL 32314-6200 (850)413-4200
                                                -                                            -
               Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 4 of 78
Filing # 151695073 E-Filed 06/17/2022 09:55:23 AIVI

                  IN THE CIRCUIT COURT OF THE 1ST JUDICIAL CIRCUIT, IN AND FOR
                                  SANTA ROSA COUNTY, FLORIDA

                                                                GENERAL         JURISDICTION         DIVISION
                                                                CASE NO.:
                                                                                22-CA-385
         DELMAR SCOTT MEYER,

                Plaintiff,

         vs.

         AMERICAN SECURITY INSURANCE COMPANY,

                Defendant,
                                                                 /

                                                    SUMMONS
         THE STATE OF FLORIDA:
         To Each Sheriff of the State:

                       YOU ARE HEREBY COMMANDED to serve this summons and a copy of the
         Complaint filed in this action on Defendant,

                            AMERICAN SECURITY INSURANCE COMPANY
                   C/O FLORIDA CHIEF FINANCIAL OFFICER, AS REGISTERED AGENT
                          200 EAST GAINES STREET, TALLAHASSEE, FL 32399

                          Each Defendant is required to serve written defenses to the complaint or petition on
         LEVI GLICK, Esq. of Insurance Litigation Group, P.A., Plaintiffs attorney, whose address is 1500
         NE 162'' St, North Miami Beach, Florida 33162, within 20 days after service of this summons on
         that defendant, exclusive of the day of service, and to file the original of the defenses with the Clerk
         of this Court, either before service on Plaintiffs attorney or immediately thereafter. If a defendant
         fails to do so, a default will be entered against the defendant for the relief demanded in the complaint
         or petition.
                   JUNE 172022
         DATED:

                         WITNESS my hand and the Seal of said Court

                                                         DONALD C. SPENCER
                                                         As Clerk of the Court

                                                    By
                                                          As Deputy Clerk




                                                                                                    ILG File #: 27428
         Electronically Filed Santa Rosa Case # 22000385CAMXAX 06/08/2022 05:5054 PM
                                                                                                Claim #: 00102857003
                                                                                                              Case #:
              Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 5 of 78




                                                                                    1500 N. E. 162nd Street
                                                                                                                      0. 786.529.0090
                                                                                     Miami, Florida, 33162
                                                                                          fnfo@lLGPA.com              f. 866.239.9520
Insurance Litigation Group                                                                www.ILGPA.com
     .-   Epe.sce   & Rapid Results Mart.




                                                                June 24, 2022

           Via Service of Complaint


                          Re:               Delmar Scott Meyer v. American Security Insurance Company
                                            SANTA ROSA County Court Case No. 22-CA-385
                                            Date of Loss: September 16, 2020



                                                   REQUEST FOR DEPOSITION DATES

           To Whom It May Concern:
                          This letter serves as our formal request for your office to provide us with deposition
           dates, to occur 30 days after the Notice of Service, so that we can depose the Corporate
           Representative, the Field Adjuster, the Claims Examiner, the Desk Adjuster and/or
           the individual with the most knowledge of the subject claim.
                          Please also provide his or her address, so that we may include that information in
           the deposition notice(s). Please send their available dates for deposition to our scheduling
           department at: annie(ilgpa.com.
                          Lastly, please let us know whether you will be producing the above parties referred,
           or if we will need to serve a subpoena. In that event, please also send us their last known
           contact information.
           Thank you for your timely attention to this matter.


                                                                       Very truly yours,

                                                                       Insurance Litigation Group, PA




                                                                                                              LG File #: 27428
                                                                                                         Claim #: 00102857003
      Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 6 of 78




         IN THE CIRCUIT COURT OF THE 1ST JUDICIAL CIRCUIT, IN AND FOR
                         SANTA ROSA COUNTY, FLORIDA

                                                    GENERAL       JURISDICTION        DIVISION
                                                    CASE NO,:

DELMAR SCOTT MEYER,

       Plaint

vs.

AMERICAN            SECURITY           INSURANCE
COMPANY,

       Defendant,


                                          COMPLAINT

       Plaintiff, DELMAR SCOTT MEYER, by and through undersigned counsel sues the

Defendant, AMERICAN SECURITY INSURANCE COMPANY, and alleges:

                              JURISDICTIONAL ALLEGATIONS

       1.       This is an action for damages for greater than $30,000.00, exclusive of interest,

costs, and attorney's fees.

       2.       At all times material hereto, Plaintiff was and is a resident of SANTA ROSA

County, Florida, and is otherwise sui juris.

       3.       At all material times hereto, Plaintiff owned the property insured by Defendant

located at 4281 Pace Lane, Pace, FL 32571 (the "Property")

      4.        The policy of insurance sued upon was issued by Defendant to Plaintiff in SANTA

ROSA County, Florida.

       5.       Jurisdiction and venue are proper in SANTA ROSA County, Florida.




                                                                                     ILG File : 27428
                                                                                 Claim #: 00102857003
                                                                                               Case #:
     Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 7 of 78




                                   GENERAL ALLEGATIONS

         6.    In consideration for the premiums paid to it, prior to September 16, 2020,

Defendant issued an insurance policy number, MLR08678665 116, to Plaintiff for Plaintiffs

property located at 4281 Pace Lane, Pace, FL 32571 in SANTA ROSA County, Florida (the

"Policy"). A copy of the Policy is attached hereto and incorporated herein as Exhibit "A."

         7.    The Policy issued by Defendant included coverage for dwelling, other structures,

personal property, and loss of use suffered by Plaintiff

         8.    At all times material hereto, including on September 16, 2020, the date of loss, the

Policy was in full force and effect.

         9.     Defendant's policy for the building and other structures portions of the Policy is

an "all risk" policy that covers all direct physical losses to the Property that are not otherwise

expressly excluded.

         10.   All conditions precedent to obtaining payment of insurance benefits under the

Policy have been complied with, met, or waived.

         11.   At all times material hereto, Defendant was not immune from liability for breach

of contract pertaining to insurance coverage.


                            COUNT I     -   BREACH OF CONTRACT

         12.   Plaintiff adopts and realleges the allegations contained in paragraphs 1 through 11

above.

         13.   This is a cause of action for breach of contract arising out of an insurance Policy

that was in effect at the time of the loss to the insured Property.

         14.   On or about September 16, 2020, Plaintiffs property was damaged by Hurricane

Sally, a covered loss (the "Loss")


                                                                                       ILG File : 27428
                                                                                   Claim #: 00102857003
                                                                                                 Case #:
     Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 8 of 78




       15.     The September 16, 2020 Loss caused Plaintiff to suffer economic damage to their

property, including physical loss to dwelling, contents, and loss of use, and Plaintiff to suffer such

damages. See Estimate of Damage, attached as Exhibit "B."

       16.     Plaintiff gave timely notice of the Loss and resulting damage to Defendant and/or

its authorized agents, employees, or representatives.

       17.     Defendant responded to the Loss by assigning claim number 00102857003 (the

"Claim").

       18.     Defendant was afforded the opportunity to fully inspect the Loss, investigate the

cause of the Loss, and quantify the amount of the Loss.

       19.     Defendant did inspect the Loss and Property in its investigation of the Claim.

       20.     Defendant afforded coverage for the Claim.

       21.     Defendant determined that $3,274.67 was owed in policy benefits on the Claim (the

"Partial Payment").

       22.     Defendant's Partial Payment of the Loss is an admission that the September 16,

2020 Loss is a covered loss under the Policy.

       23.     Through its determination that there were damages on the Claim, Defendant

admitted liability for the Loss.

       24.     The amount of damages determined by Defendant is inadequate to perform the

repairs needed to fix all damages caused by the Loss and to restore Plaintiffs Property to its pre-

Loss condition.

       25.     Defendant breached the Policy by failing to pay the full amount of damages

sustained by Plaintiff




                                                                                         ILG File : 27428
                                                                                     Claim #: 00102857003
                                                                                                   Case #:
     Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 9 of 78




       26.     Defendant continues to refuse to pay the full amount of Plaintiffs covered Loss,

despite Plaintiffs demands for full payment.

       27.     Plaintiff has been damaged as a result of Defendant's breach in the form of

insurance benefits due and owing, plus interest, costs, and attorney's fees.

       28.     Plaintiff has retained the undersigned counsel to prosecute this action and is

obligated to pay the undersigned counsel a reasonable attorney's fee.

       29.     Plaintiff is entitled to recover reasonable attorney's fees from Defendant pursuant

to Fla. Stat. Section 627.428, or in the alternative Fla. Stat. Section 626.9373, or any other

applicable attorney's fees statute,

       WHEREFORE, Plaintiff demands judgment against Defendant for damages together with

interest, costs, and attorney's fees, and for such further relief this court deems just and proper.

                                  DEMAND FOR JURY TRIAL

       Plaintiff herein demands a trial by jury of all issues so triable.

                                          CERTIFICATE

THIS COMPLAINT IS DATED AND SIGNED June 8, 2022 and was filed by:


                                                INSURANCE LITIGATION GROUP, P.A.
                                                Attorneyfor Plaintiff
                                                1500 N.E. 162nd Street
                                                Miami, Florida 33162
                                                Telephone: (786) 529-0090
                                                Facsimile: (866) 239-9520
                                                E-Mail: service@ILGPA.COM

                                                By:    /5/ Milton B Grey
                                                       MILTON B GREY, ESQ.
                                                       FL Bar No. 0116560
                                                       LEVI GLICK, ESQ.
                                                       FLBarNo. 1010718




                                                                                          ILG File : 27428
                                                                                      Claim #: 00102857003
                                                                                                    Case #:
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               EXHIBIT "A"
           Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 11 of 78
    QUICKEN LOANS INC
    INSURANCE SERVICE CENTER
    P.O. BOX 202070
    FLORENCE, SC 29502




   DELMAR SCOTT MEYER
   5761 N ROP RD
   MILTON, FL 32570




Re: 3371503634




    1400
                  Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 12 of 78

QuickenLoans
    Engineered to Amaze

P.O. BOX 202070   I FLORENCE, SC 29502




         Notice Date: May 29, 2020



         DELMAR SCOTT MEYER
         5761 N ROP RD
         MILTON, FL 32570




         RE: Mortgage loan number: 3371503634
         Subject: RENEWAL OF LENDER-PLACED INSURANCE POLICY NUMBER: MLR08678665116
         Property address: 4281 PACE LN, MILTON, FL 32571

         Dear DELMAR SCOTT MEYER:

         Enclosed is a renewal of your lender placed hazard insurance policy, we obtained on your behalf. Your loan
         agreement requires you to maintain a hazard insurance policy covering your home that is in effect at all times. As
         you still have not provided us with proof of acceptable coverage, we have again bought insurance on your
         property. The enclosed renewal policy's annual premium of $2,345.00 has been billed to an impound/escrow
         account that may have been established for your loan. The policy will have a deductible (the amount of loss you
         would have to pay per policy claim) in the amount shown on the policy. Please read the policy carefully to make
         sure you understand its terms and conditions.

         We strongly recommend that you obtain your own insurance coverage. The renewal insurance policy we bought
         will remain in effect until you provide us with evidence of acceptable coverage, at which time the policy we
         obtained will be cancelled and you will receive a refund of any unearned premium, as calculated by the insurance
         company. Please note that you may cancel this coverage at any time by providing us with evidence of other
         acceptable coverage; however, if the effective date of your acceptable coverage is after the effective date of the
         enclosed renewal policy, you will be charged for the number of days that coverage was provided under the
         renewal policy.

         Please read the important information and instructions contained in this letter:

              The cost of the hazard insurance we obtained is likely much higher than insurance you can obtain on your
              own. The higher cost is because the insurance we buy is issued automatically without evaluating the risk of
              insuring your property. When comparing premiums, remember that our policy provides very limited coverage
              as indicated below.

              The hazard insurance we obtained may provide benefits to you, but is primarily for the benefit of the person
              or company who presently owns your mortgage loan. If you incur property damage or loss, you may not have
              adequate coverage for any damages that you suffer because the person or company that owns your loan will
              be paid first.

              The hazard insurance we obtained only covers the structure of your home (for example, the building, walls,
              floors, roof and permanent attachments).

                     •    It does not cover your furniture or any of your other personal belongings.
                     •    It does not cover the cost of temporarily living outside of your home because it was damaged and is
                          being repaired.
                     •    It does not cover any liability incurred personally to someone who is injured while on your property.



    Questions? Contact Your Quicken Loans Team.

                Phone: 1-855-282-8722                                           Hours: Monday - Friday: 8:30 a.m. - 9:00 p.m. ET
             Secure Fax: 1-855-703-9194                                                      Saturday: 9:00 a.m. - 4:00 p.m. ET


                                                                  867H4-1019
           Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 13 of 78

QuickenLoans
 Engineered to Amaze




         The hazard insurance we obtained does not cover any amounts you feel your home is worth in excess of the
         last amount of dwelling coverage that you obtained and we entered on our records. If we did not know the
         last amount of insurance coverage you had, we purchased coverage in the amount of the unpaid principal
         balance of your loan on the date we requested the insurance coverage to begin. Although such coverage does
         not meet our property insurance requirements, we purchased it in the absence of information that would
         allow for acceptable coverage for your property. If you believe that the amount of coverage shown in the
         enclosed policy does not accurately represent the value of the home, please call your Quicken Loans team at
         1-855-282-8722.

         The hazard insurance we purchase will be effective beginning on the date that your previous acceptable
         insurance expired or was cancelled (regardless of whether or not your policy provided insurance coverage to
         the owner of your mortgage loan after that date). Insurance that protects only the owner of your loan after
         your policy expiration or cancellation date is limited insurance that is not acceptable insurance coverage to us,
         and will be superseded by the acceptable hazard insurance policy we purchase.

    IMPORTANT BANKRUPTCY INFORMATION:

         If you have an active bankruptcy or you received a bankruptcy discharge, we are sending this for
         informational or legal purposes only. We're not trying to collect against you personally. If you have any
         questions about this communication or your obligation to pay, please contact your attorney.

    We urge you to contact an agent of your choice to obtain insurance at a more competitive price. If you have
    already ordered other insurance acceptable to us, please instruct your agent or insurance carrier to forward
    evidence of coverage with a Lenders Loss Payable endorsement in favor of:

                                                 QUICKEN LOANS INC
                                                 ISAOA
                                                 P.O. BOX 202070
                                                 FLORENCE, SC 29502
                                                 Loan Number: 3371503634
                                                 Or Fax To: 1-855-703-9194

    You may also upload your insurance information by visiting our website at www.mycoverageinfo.com/guickenloans.
    Upon receipt of evidence of acceptable continuing or renewed insurance coverage, we will cancel the policy we
    obtained. For any period of time during which your policy was not in effect, you will be charged for the lapse
    in coverage.

    Please be advised that the lender-placed carrier providing the coverage referenced above may be staffing our
    customer service telephone lines.

    We hope you'll agree that obtaining your own insurance is in your best interest. If you have any questions or
    concerns, don't forget that we're here to help! You can contact us at 1-855-282-8722, Monday Friday, 8:30 a.m.       -                -


    9:00 p.m. ET, and Saturday, 9:00 a.m. 4:00 p.m. ET.
                                                   -




    Sincerely,

    Your Quicken Loans Team




    This communication is from a debt collector and is an attempt to collect a debt.



                                                                                                                                              Page 2
 Questions? Contact Your Quicken Loans Team.

            Phone: 1-855-282-8722                                                      Hours: Monday - Friday: 8:30 a.m. - 9:00 p.m. ET
         Secure Fax: 1-855-703-9194                                                                 Saturday: 9:00 a.m. - 4:00 p.m. ET


                                                                       867H4-1019
                       Case 3:22-cv-10332-MCR-ZCBDECLARATIONS
                                                   Document 1-4 Filed 07/25/22 Page 14 of 78

AMERICAN SECURITY INSURANCE COMPANY
        P0 BOX 50355, ATLANTA, GA 30302                                                 CERTIFICATE NUMBER: MLR08678665116
            A Stock Insurance Company
CERTIFICATE PERIOD:                                                              Issued under the provisions of
EFFECTIVE DATE                  EFFECTIVE TIME              EXPIRATION DATE      Master Policy No.:
05/21/2020                        12:01 am                  05/21/2021               MIP-RCH-00867-00

NAMED INSURED and Mailing Address:                                               For Company Use:
                                                                                 Basis:
QUICKEN LOANS INC
                                                                                 Territory: 0011
 II SHA 0 HA
                                                                                 Class:
P.O. BOX 202070                                                                  Other: FIR SFD 008670000
FLORENCE, SC 29502


DESCRIBED LOCATION. The property covered by this Certificate is at the described location unless otherwise stated:
4281 PACE LN
MILTON, FL 32571



COVERAGE AND LIMITS OF LIABILITY Coverage is provided only where a premium is shown for the coverage, subject
                                             -


to all conditions of this Certificate.
RESIDENTIAL PROPERTY:
      LIMIT OF LIABILITY                                          DEDUCTIBLES                                             PREMIUM
Coverage A $161,828-                    Windstorm, Hail or Hurricane: 2% of the Limit of Liability or                    $2,345.00
Coverage B 10% of Coverage A
                   -                                                  $2,000, whichever is greater.
                                        All Other Perils: $2,000


                                                                                             TOTAL PREMIUM               $2,345.00
COMMERCIAL PROPERTY:
       LIMIT OF LIABILITY                                         DEDUCTIBLES                                             PREMIUM
Building       -                        Windstorm, Hail or Hurricane:      % of the Limit of Liability or
                                                                          whichever is greater.
                                        All Other Perils:

                                                                                             TOTAL PREMIUM


Optional Coverages, Assessments, Surcharges, Taxes, Fees (if applicable):




                                                                                              TOTAL AMOUNT               $2,345.00
FORMS AND ENDORSEMENTS which are made a part of this Certificate at the time of issuance:
MIP 223 AS (01-12),MIP 233 (01-12),MIP 05 FL (01-12),MIP 243 FL (11-19)
MIP 304 FL (02-13),N0T11256 (03-14),MIP 219 (01-12),MIP 239 FL (02-13)

BORROWER Name and address:
                       -



DELMAR SCOTT MEYER
5761 N ROP RD
MILTON, FL 32570


                                                                                   Loan No.: 3371503634
CLAIMS: 1-800-652-1262                                                                                           Issue Date: 05/29/2020
ALL OTHER INQUIRIES:
1-855-282-8722                                    Countersignature (where required)

MIP 04 AS (01-12)                                              Page 1 of 1                                                   MIPO4ASR-1116
            Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 15 of 78

                     AMERICAN SECURITY INSURANCE COMPANY
                                     P.O. BOX 50355, ATLANTA, GA 30302
                                          A Stock Insurance Company
                                          Home Office: Wilmington, DE


                                Residential Dwelling Certificate

    This Certificate only covers buildings and structures. Please read your Certificate and all
                                      endorsements carefully.

   THIS CERTIFICATE JACKET TOGETHER WITH THE DWELLING FORM AND ENDORSEMENTS, IF ANY, ISSUED TO FORM
                              A PART THEREOF, COMPLETES THIS CERTIFICATE.




                                             QUICK REFERENCE

                                           Beginning                                                    Beginning
                                            On Page                                                      On Page

AGREEMENT                                       1      CONDITIONS
DEFINITIONS                                     1          Certificate Period                                 5
COVERAGES                                       1          Insurable Interests                                5
OTHER COVERAGES                                 1          Concealment or Fraud                               5
      Other Structures                          1          Your Duties After Loss                             5
      Debris Removal                            2          Loss Settlement                                    6
      Reasonable Repairs                        2          Loss to a Pair or Set                              6
      Property Removed                          2          Glass Replacement                                  6
      Collapse                                  2          Appraisal                                          6
      Glass or Safety Glazing Material          2          Other Insurance                                    6
      Ordinance or Law                          3          Subrogation                                        6
PERILS INSURED AGAINST                          3          Action Against Us                                  7
GENERAL EXCLUSIONS                              4          Loss Payment                                       7
      Ordinance or Law                          4          Deductible                                         7
      Earth Movement                            4          Abandonment of Property                            7
      Water Damage                              4          No Benefit to Bailee                               7
      Power Failure                             5          Cancellation                                       7
      Neglect                                   5          Non-Renewal                                        7
      War                                       5          Liberalization Clause                              7
      Nuclear Hazard                            5          Waiver or Change of Certificate Provisions         8
      Intentional Loss                          5          Assignment                                         8
      Weather conditions                        5          Nuclear Hazard Clause                              8
      Acts or decisions                         5          Salvage and Recoveries                             8
      Faulty, inadequate or defective           5          Volcanic Eruption Period                           8
                                                           Premiums                                           8



                            READ YOUR CERTIFICATE CAREFULLY
"THIS CERTIFICATE CONTAINS A SEPARATE DEDUCTIBLE FOR
  HURRICANE LOSSES, WHICH MAY RESULT IN HIGH OUT-OF-
               POCKET EXPENSES TO YOU."

MIP 223 AS (01-12)                                                                                MIP223ASFL-0914
             Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 16 of 78
                                                                                                 Mortgagee's Interest Protection
                                                                                                 Residential Dwelling Certificate

AGREEMENT                                                            COVERAGE A      -   Dwelling

We will provide the insurance described in this                      1. Property Covered
Certificate in return for the premium and compliance                    We cover
with all applicable provisions of this Certificate and the              a. The 1-4 family dwelling on the described
Declarations, which is attached to and forms a part of                     location shown in the Declarations, used
this Certificate.                                                          principally for dwelling purposes, including
                                                                           structures attached to the dwelling;
                                                                        b. Materials and supplies located on or next to the
DEFINITIONS
                                                                           described location used to construct, alter or
                                                                           repair the dwelling or other structures on the
In this Certificate, you and your refer to the financial
                                                                           described location; and
institution shown      as    named insured in        the
                                                                        c. If not otherwise covered in this Certificate,
Declarations. We, us and our refer to the Company
                                                                           building equipment and outdoor equipment
providing this insurance. In addition, certain words and
                                                                           used for the service of and located on the
phrases are defined as follows:
                                                                           described location.
1. Borrower refers to the person or persons who have
                                                                     2. Property Not Covered
    entered into a lien or mortgage agreement with the
                                                                        a. Personal property of any kind.
     named insured for the property shown as the
                                                                        b. Outdoor trees, shrubs, plants and lawns.
     described location in the Declarations.
                                                                        c. Outdoor swimming pools;            fences,   piers,
2. Residential Property means the dwelling and other
                                                                           wharves and docks; beach or diving platforms
    structures covered by this Certificate and shown as
                                                                           or    appurtenances;      retaining    walls   not
     the described location in the Declarations.
                                                                           constituting a part of buildings; walks,
3. Net Loan Balance means and is limited to only the
                                                                           roadway; and other paved surfaces.
     unpaid principal balance plus earned interest as of
                                                                        d. Cost of excavations, grading or filling.
     the date of loss.
                                                                        e. Foundations of buildings, machinery, boilers or
4. Actual Cash Value means the cost of replacing the
                                                                           engines which foundations are below the
     damaged or destroyed property with a comparable
                                                                           surface of the ground.
     new property, minus depreciation and obsolescence.
                                                                        f. Pilings, piers, pipes, flues and drains which are
5. Described Location. The legal description, or
                                                                           underground.
    common street address, of real property which has
                                                                        g. Pilings which are below the low water mark.
     been pledged under a valid deed of trust, mortgage
                                                                        h. Land, including land on which the residential
     document, or any other mortgage instrument as
                                                                           property is located.
    security for a loan made, assumed or serviced by an
    insured and upon which a building is situated.
                                                                     COVERAGE B          Other Structures
6. Dwelling. A building designed for use as a
                                                                                     -




     residence for no more than four families or a
                                                                     We cover other structures on the described location,
     mobile home.
                                                                     set apart from the dwelling by clear space. This
7. Mobile Home means:
                                                                     includes structures connected to the dwelling by only a
    a. A building which satisfies the National Mobile
                                                                     fence, utility line, or similar connection.
         Homes Construction and Safety Standards, as
         presently existing or hereafter amended, or the
                                                                     This coverage does not apply to land, including land on
         American Society of Civil Engineers Standard
                                                                     which the other structures are located.
         ANSI/ASCE 7-88.
     b. A manufactured home is a structure built on a
                                                                     We do not cover other structures used in whole or in
         permanent chassis, transported to its site in
                                                                     part for commercial, manufacturing or farming
         one or more sections and affixed to a
                                                                     purposes.
         permanent foundation.
                                                                     OTHER COVERAGES
COVERAGES
                                                                     1. Other Structures. You may use up to 10% of the
This insurance applies to the described location,                       Coverage A Limit of Liability for loss by a Peril
coverages for which a Limit of Liability is shown and                   Insured Against to other structures described in
Perils Insured Against for which a premium is stated.                   Coverage B.




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     Use of this coverage does not reduce the Coverage                            cracking,     bulging,    sagging,   bending,
     A Limit of Liability for the same loss.                                      leaning, settling, shrinkage or expansion.
2.   Debris Removal. We will pay up to 10% of the                        b. We insure for risk of direct physical loss to
     Coverage A Limit of Liability for your reasonable                       covered property involving collapse of a
     expense for the removal of:                                             residential property or any part of a
     a. Debris of covered property if a Peril Insured                        residential property caused only by one or
         Against causes the loss; or                                         more of the following:
     b. Ash, dust or particles from a volcanic eruption                      (1) Perils Insured Against. These perils apply to
          that has caused direct loss to a dwelling.                              covered residential property for loss
     Use of this coverage does not reduce the Coverage                            insured by this Other Coverage;
     A Limit of Liability for the same loss.                                      (a) Fire or Lightning
3.   Reasonable Repairs.                                                          (b) Windstorm or Hail
     a. In the event that covered property is damaged                             (c) Explosion
         by a Peril Insured Against, we will pay the                              (d) Riot or Civil Commotion
         reasonable cost incurred by you for necessary                            (e) Aircraft
         measures taken solely to protect against further                         (f) Vehicles
         damage.                                                                  (g) Smoke
     b. If the measures taken involve repair to other                             (h) Vandalism or Malicious Mischief
         damaged property, we will pay for those                                  (i) Damage by Burglars
         measures only if that property is covered under                          (j) Falling Objects
          this Certificate and the damage to that                                 (k) Weight of Ice, Snow or Sleet
         property is caused by a Peril Insured Against.                           (I) Accidental Discharge or Overflow of
         This coverage does not:                                                      Water or Steam
         (1) Increase the Coverage A Limit of Liability                           (m) Sudden and Accidental Tearing Apart,
              that applies to the covered property;                                   Cracking, Burning or Bulging
         (2) Relieve you of your duties, in case of a loss                        (n) Freezing
              to covered property, as set forth in                                (o) Sudden and Accidental Damage From
              Condition 4.b.                                                          Artificially Generated Electrical Current
4.   Property Removed.                                                            (p) Volcanic Eruption
     We insure covered property against direct loss from                     (2) Hidden decay;
     any cause while being removed from a described                          (3) Hidden insect or vermin damage;
     location endangered by a Peril Insured Against and                      (4) Weight of contents, equipment, animals or
     for no more than 30 days while removed.                                      people;
     This coverage does not change the Limit of Liability                    (5) Weight of rain which collects on a roof;
     that applies to the property being removed.                             (6) Use of defective material or methods in
5.   Collapse.                                                                    construction, remodeling or renovation if
     a. With respect to this Other Coverage:                                      the collapse occurs during the course of the
         (1) Collapse means an abrupt falling down or                             construction, remodeling or renovation.
              caving in of a residential property or any                 c. Loss to an awning, fence, patio, pavement,
              part of a residential property with the                        swimming pool, underground pipe, flue, drain,
              result that the residential property or part                   cesspool, septic tank, foundation, retaining
              of the residential property cannot be                          wall, bulkhead, pier, wharf or dock is not
              occupied for its current intended purpose.                     included under items b.(2) through (6) above
         (2) A residential property or any part of a                         unless the loss is a direct result of the collapse
              residential property that is in danger of                      of a residential property or any part of a
              falling down or caving in is not considered                    residential property.
              to be in a state of collapse.                              d. This coverage does not increase the Coverage A
         (3) A part of a residential property that is                        Limit of Liability that applies to the damaged
              standing is not considered to be in a state                    covered property.
              of collapse even if it has separated from               6. Glass or Safety Glazing Material.
              another part of the residential property.                  a. We cover:
         (4) A building or any part of a building that is                    (1) The breakage of glass or safety glazing
              standing is not considered to be in a state                         material which is part of a covered
              of collapse even if it shows evidence of                            residential property, storm door or storm
                                                                                  window;




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      (2) The breakage of glass or safety glazing                              respond to, or assess the effects of,
          material which is part of a covered                                  pollutants in or on any covered residential
          residential property, storm door or storm                            property.
          window when caused directly by earth                                 Pollutants means any solid, liquid, gaseous
          movement; and                                                        or    thermal irritant or contaminant,
      (3) The direct physical loss to covered property                         including smoke, vapor, soot, fumes, acids,
          caused solely by the pieces, fragments or                            alkalis, chemicals and waste. Waste
          splinters of broken glass or safety glazing                          includes    materials    to be    recycled,
          material which is part of a residential                              reconditioned or reclaimed.
          property, storm door or storm window.                    This coverage is additional insurance.
   b. This coverage does not include loss to covered
      property which results because the glass or                  PERILS INSURED AGAINST
      safety glazing material has been broken, except
      as provided in a.(3) above.                                  COVERAGE A DWELLING and
                                                                                   -


   c. This coverage does not increase the Coverage A               COVERAGE B OTHER STRUCTURES
                                                                                   -


      Limit of Liability that applies to the damaged
      property.                                                    We insure against risk of direct loss to property
7. Ordinance Or Law.                                               described in Coverages A and B only if that loss is a
   a. The Ordinance Or Law Limit of Liability                      physical loss to property; however, we do not insure
      determined in b. below will apply with respect               Loss:
      to the increased costs due to the enforcement
      of any ordinance or law which requires or                    1. Excluded under General Exclusions;
      regulates:                                                   2. Involving collapse, other than as provided in Other
      (1) The construction, demolition, remodeling,                   Coverages 5;
          renovation or repair of that part of a                   3. Caused by:
          covered residential property damaged by a                   a. Freezing, thawing, pressure or weight of water
          Peril Insured Against;                                          or ice, whether driven by wind or not, to a
      (2) The demolition and reconstruction of the                        (1) Fence, pavement, patio or swimming pool;
          undamaged part of a covered residential                         (2) Footing, foundation, bulkhead, wall, or any
          property, when that residential property                             other structure or device that supports all
          must be totally demolished because of                                or part of a building or other structure;
          damage by a Peril Insured Against to                            (3) Retaining wall or bulkhead that does not
          another part of that covered residential                             support all or part of a building or other
          property; or                                                         structure; or
      (3) The remodeling, removal or replacement of                       (4) Pier, wharf or dock;
          the portion of the undamaged part of a                      b. Theft of property not part of a covered
          covered residential property necessary to                       residential property or structure;
          complete     the remodeling,      repair or                 c. Theft in or to a dwelling or structure under
          replacement of that part of the covered                         construction;
          residential property damaged by a Peril                     d. Wind, hail, ice, snow or sleet to:
          Insured Against.                                                (1) Outdoor radio and television antennas and
   b. If you are an owner of a described location,                             aerials including their lead-in wiring, masts
      and that location is insured for Coverage A,                             or towers; or
      you may use up to 10% of the Limit of Liability                     (2) Trees, shrubs, plants or lawns;
      that applies to Coverage A at each described                    e. Constant or repeated seepage or leakage of
      location. This limit includes any resulting                         water or steam over a period of weeks, months
      debris removal expense.                                             or years from within a plumbing, heating, air
   c. We do not cover:                                                    conditioning or automatic fire protective
      (1) The loss in value to any covered residential                    sprinkler system or from within a household
          property due to the requirements of any                         appliance;
          ordinance or law; or                                            For purposes of this provision, a plumbing
      (2) The costs to comply with any ordinance or                       system or household appliance does not include
          law which requires you or others to test                        a sump, sump pump or related equipment or a
          for, monitor, clean up, remove, contain,                        roof drain, gutter, downspout or similar fixtures
          treat, detoxify or neutralize, or in any way                    or equipment;




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    f.  Any of the following:                                             contributing concurrently or in any sequence to the
        (1) Wear and tear, marring, deterioration;                        Loss. These exclusions apply whether or not the
        (2) Inherent vice, latent defect, mechanical                      loss event results in widespread damage or affects
            breakdown;                                                    a substantial area.
        (3) Smog, rust or other corrosion, fungi, mold,                   a. Ordinance or Law.
            wet or dry rot.                                                   Ordinance or Law means any ordinance or law:
            Fungi means any type or form of fungus,                           (1) Requiring or regulating the construction,
            including mold or mildew, and any                                      demolition, remodeling, renovation or
            mycotoxins, spores, scents or by-products                             repair of property, including removal of any
            produced or released by fungi;                                        resulting debris. This exclusion 1.a.(1) does
        (4) Smoke from agricultural smudging or                                   not apply to the Limit of Liability that may
            industrial operations;                                                be provided under Other Coverage 7.
        (5) Discharge, dispersal, seepage, migration                              Ordinance or Law:
            release or escape of pollutants.                                  (2) The requirements of which result in a loss
            Pollutants means any solid, liquid, gaseous                           in value to property; or
            or    thermal irritant or contaminant,                            (3) Requiring you or others to test for,
            including smoke, vapor, soot, fumes, acids,                           monitor, clean up, remove, contain, treat,
            alkalis, chemicals and waste. Waste                                    detoxify or neutralize, or in any way
            includes     materials   to    be    recycled,                        respond to, or assess the effects of,
            reconditioned or reclaimed;                                           pollutants.
        (6) Settling, shrinking, bulging or expansion,                            Pollutants means any solid, liquid, gaseous
            including resultant cracking, of pavements,                           or    thermal irritant or contaminant,
            patios, foundations, walls, floors, roofs or                          including smoke, vapor, soot, fumes, acids,
            ceilings; or                                                          alkalis, chemicals and waste.          Waste
        (7) Birds, vermin, rodents, insects or domestic                           includes     materials     to  be   recycled,
            animals.                                                              reconditioned or reclaimed.
If any of these cause water damage not otherwise                          This exclusion l.a. applies whether or not the
excluded,     from      a   plumbing,      heating,    air                property has been physically damaged.
conditioning or automatic fire protective sprinkler                       b. Earth Movement.
system or household appliance, we cover loss                                  Earth Movement means:
caused by the water including the cost of tearing                             (1) Earthquake, including land shock waves or
out and replacing any part of a residential                                        tremors before, during or after a volcanic
property necessary to repair            the system or                             eruption;
appliance. We do not cover loss to the system or                              (2) Landslide, mudslide or mudflow;
appliance from which this water escaped.                                      (3) Subsidence or sinkhole; or
For the purposes of this provision, a plumbing                                (4) Any other earth movement including earth
system or household appliance does not include a                                  sinking, rising or shifting;
sump, sump pump or related equipment or roof                                  caused by or resulting from human or animal
drain, gutter, downspout or similar fixtures or                               forces or any act of nature unless direct loss by
equipment.                                                                    fire or explosion ensues and then we will pay
                                                                              only for the ensuing loss.
General Exclusion 1.c. Water Damage, Paragraphs (1)                       c. Water Damage, meaning:
and (3) that apply to surface water and water below                           (I) Flood, surface water, waves, tidal water,
the surface of ground do not apply to loss by water                               overflow of a body of water, or spray from
covered under 3.f. above.                                                         any of these, whether or not driven by
                                                                                  wind;
Under items 1. and 2., any ensuing loss to property                           (2) Water or water-borne material which backs
described in Coverages A and B not excluded or                                    up through sewers or drains         or which
excepted in this Certificate is covered.                                          overflows from a sump, sump pump or
                                                                                  related equipment; or
GENERAL EXCLUSIONS                                                            (3) Water or water-borne material below the
                                                                                  surface of the ground, including water
1. We do not insure for loss caused directly or                                   which exerts pressure on or seeps or leaks
   indirectly by any of the following. Such loss is                                through a residential property, sidewalk,
   excluded regardless of any other cause or event




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            driveway, foundation, swimming pool or                  2. Insurable Interest. Even if more than one person
           other structure;                                            has an insurable interest in the property covered,
      Caused by or resulting from human or animal                      we will not be liable in any one loss:
      forces or any act of nature.                                     a. For an amount greater than the interest of a
      Direct loss by fire or explosion resulting from                      person insured under this Certificate; or
      water damage is covered.                                         b. For more than the applicable Limit of Liability
   d. Power Failure, meaning the failure of power or                       as shown in the Declarations.
      other utility service if the failure takes place                 If the described location is vacant and the
      off the described location. But, if a Peril                      mortgage on the property has been declared in
      Insured Against ensues on the described                          default by the mortgagee at the time of a loss, we
      location, we will pay only for that ensuing loss.                shall pay no more than the named insureds
   e. Neglect, meaning your neglect to use all                         interest in the property at the time of loss unless
      reasonable means to save and preserve                            the borrower participates in the claim.
      property at and after the time of a loss.                        The named insureds interest is represented by the
   f. War, including undeclared war, civil war,                        borrowers net loan balance.
      insurrection, rebellion, revolution, warlike act              3. Concealment or Fraud. We provide coverage to no
      by a military force or military personnel,                       persons insured under this Certificate if, whether
      destruction or seizure or use for a military                     before or after a loss, one or more persons insured
      purpose, and including any consequence of any                    under this Certificate have:
      of these. Discharge of a nuclear weapon will be                  a. Intentionally concealed or misrepresented any
      deemed a warlike act even if accidental.                             material fact or circumstance
   g. Nuclear Hazard, to the extent set forth in the                   b. Engaged in fraudulent conduct; or
      Nuclear Hazard Clause of the Conditions.                         c. Made false statements;
   h. Intentional Loss, meaning any loss arising out                   relating to this insurance.
      of any act committed:                                         4. Your Duties After Loss. In case of a loss to covered
      (1) By you or at your direction; and                             property, you must see that the following are done:
      (2) With the intent to cause a loss.                             a. Give prompt notice to us or our agent;
2. We do not insure for loss to property described in                  b. (1) Protect the property from further damage;
   Coverages A and B caused by any of the following                        (2) Make reasonable and necessary repairs to
   However, any ensuing loss to property described in                          protect the property; and
   Coverages A and B not excluded or excepted in this                      (3) Keep an accurate record of repair expenses;
   Certificate is covered.                                             c. Cooperate with us or our representative in the
   a. Weather conditions. However, this exclusion                          investigation of a claim;
      only applies if weather conditions contribute in                 d. As often as we reasonably require:
      any way with a cause or event excluded in                            (1) Show the damaged property;
      paragraph 1. above to produce the loss;                              (2) Provide us with records and documents we
   b. Acts or decisions, including the failure to act                          request and permit us to make copies; and
      or decide, of any person, group, organization or                     (3) Submit to examination under oath, while
      governmental body;                                                       not in the presence of any other named
   c. Faulty, inadequate or defective;                                         insured, and sign the same;
      (1) Planning, zoning, development, surveying,                    e. Send to us, within 60 days after our request,
           siting;                                                         your signed, sworn proof of loss which sets
      (2) Design, specifications, workmanship, repair,                     forth, to the best of your knowledge and
           construction,     renovation,    remodeling,                    belief:
            grading, compaction;                                           (1) The time and cause of loss;
      (3) Materials used in repair, construction,                          (2) Your interest and that of all others in the
            renovation or remodeling; or                                       property involved and all liens on the
      (4) Maintenance;                                                         property;
      of part or all of any property whether on or off                     (3) Other insurance which may cover the loss;
      the described location.                                              (4) Changes in title or occupancy of the
                                                                               property during the term of the Certificate;
CONDITIONS                                                                 (5) Specifications of damaged residential
                                                                               property and detailed repair estimates.
1. Certificate Period. This Certificate applies only to
   loss which occurs during the Certificate period.




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5. Loss Settlement.                                                           on actual cash value basis. You may then
   In this Condition 5., the terms "cost to repair or                         make claim for any additional liability
   replace" and "replacement cost" do not include the                         according to the provisions of this Condition 5.
   increased costs incurred to comply with the                                Loss Settlement, provided you notify us of
   enforcement of any ordinance or law except to the                          your intent to do so within 180 days after the
   extent that coverage for these increased costs is                          date of loss.
   provided in Other Coverage 7. Ordinance Or Law.                   6. Loss To A Pair Or Set.
   Covered property losses are settled as follows:                       In case of loss to a pair of set we may elect to:
   a. Property of the following types:                                   a. Repair or replace any part to restore the pair or
       (1) Awnings, carpeting, household appliances,                          set to its value before the loss; or
            outdoor antennas and outdoor equipment,                      b. Pay the difference between actual cash value
            whether or not attached to buildings; and                         of the property before and after the loss.
       (2) Structures that are not buildings;                        7. Glass Replacement. Loss for damage to glass
       at actual cash value at the time of loss but not                  caused by a Peril Insured Against will be settled on
       more than the amount required to repair or                        the basis of replacement with safety glazing
       replace.                                                          materials when required by ordinance or law.
   b. Buildings under Coverage A or B at replacement                 8. Appraisal. If you and we fail to agree on the
       cost without deduction for depreciation,                          amount of loss, either may demand an appraisal of
       subject to the following:                                         the loss. In this event, each party will choose a
       We will pay the cost to repair or replace, after                  competent appraiser within 20 days after receiving
       application of any deductible and without                         a written request from the other. The two
       deduction for depreciation, but not more than                     appraisers will choose an umpire. If they cannot
        the least of the following amounts:                              agree upon an umpire within 15 days, you or we
       (1) The Limit of Liability under this Certificate                 may request that the choice be made by a judge of
            that applies to the residential property;                    a court of record in the state where the described
       (2) The replacement cost of that part of the                      location is located. The appraisers will separately
            residential      property   damaged     with                 set the amount of loss. If the appraisers submit a
            material of like kind and quality and for                    written report of an agreement to us, the amount
            like use;                                                    agreed upon will be the amount of loss. If they fail
       (3) The necessary amount actually spent to                        to agree, they will submit their differences to the
            repair or replace the damaged residential                    umpire. A decision agreed to by any two will set
            property; or                                                 the amount of loss.
       (4) The net loan balance at the time of loss.                     Each party will:
       If the residential property is rebuilt at a new                   a. Pay its own appraiser; and
       premises, the cost described in (2) above is                      b. Bear the other expenses of the appraisal and
       limited to the cost which would have been                              umpire equally.
       incurred if the residential property had been                 9. Other Insurance. If we have issued a Certificate of
       built at the original premises.                                   insurance because you have not received evidence
   c. We will pay no more than the actual cash value                     of other acceptable insurance from the borrower
       of the damage until actual repair or                              and you subsequently receive such evidence, you
       replacement is complete. Once actual repair or                    shall immediately notify us and request coverage to
       replacement is complete, we will settle the loss                  be terminated on the described location.
       as noted in b. above.                                             Coverage on any described location provided under
       However, if the cost to repair or replace the                     this Certificate will be terminated on the effective
       damage is both:                                                   date of other acceptable insurance.
       (1) Less than 5% of the Limit of Liability in this                If there is any other valid or collectible insurance
            Certificate on the residential property;                     which would attach if the insurance under this
            and                                                          Certificate had not been effected, this insurance
       (2) Less than $2,500;                                             shall apply only as excess and in no event as
       we will settle the loss as noted in b. above                      contributing insurance and then only after all other
       whether or not actual repair or replacement is                    insurance has been exhausted.
       complete.                                                     10. Subrogation (Our Rights of Recovery). In the event
   d. You may disregard the replacement cost loss                        of any claim under this Certificate, we are entitled
       settlement provisions and make claim under this                   to all your rights of recovery against another
       Certificate for loss to residential property                      person. You must sign and deliver to us any legal




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    papers relating to that recovery, do whatever else                        address shown in the Declarations. Proof of
    is necessary to help us exercise those rights and do                      mailing will be sufficient proof of notice.
    nothing after loss to prejudice our rights.                               (1) When the named insured has not paid the
    When you have made a claim under this Certificate                              premium, we may cancel at any time by
    and also recover from another person, the amount                               letting the named insured know at least 10
    recovered from the other person shall be held by                               days before the date cancellation takes
    you in trust for us and reimbursed to us to the                               effect.
    extent of any damages paid by us under this                               (2) When this Certificate has been in effect for
    Certificate.                                                                   less than 60 days and is not a renewal with
11. Action Against Us. No action can be brought unless                             us, we may cancel for any reason by letting
    the Certificate provisions have been complied with                             the named insured know at least 10 days
    and the action is started within one year after the                            before the date cancellation takes effect.
    date of loss.                                                             (3) When this Certificate has been in effect for
12. Loss Payment. We will adjust all losses with the                               60 days or more, or at any time if it is a
    named insured. Loss will be made payable to the                                renewal with us, we may cancel:
    named insured. No coverage will be available to                               (a) If     there    has    been    a   material
    any mortgagee other than that shown as the named                                    misrepresentation of fact which if
    insured on the Declarations. Loss will be payable                                   known to us would have caused us not
    30 days after we receive proof of loss and:                                         to issue the Certificate; or
    a. Reach an agreement with the named insured;                                 (b) If the risk has changed substantially
    b. There is an entry of a final judgment; or                                        since the Certificate was issued.
    c. There is a filing of an appraisal award with us.                           This can be done by letting the named
13. Deductible. We will not pay for loss or damage in                             insured know at least 30 days before the
    any one occurrence until the amount of loss or                                 date cancellation takes effect.
    damage exceeds the deductible shown on the                                (4) When this Certificate is written for a period
    Declarations. We will then pay the amount of loss or                          of more than one year, we may cancel for
    damage in excess of the deductible, up to the                                  any reason at anniversary by letting the
    applicable Loss Settlement limit.                                              named insured know at least 30 days
14. Abandonment of Property. We need not accept                                    before the date cancellation takes effect.
    any property abandoned by you.                                        c. However, any individual Certificate shall
15. No Benefit to Bailee. We will not recognize any                           automatically and immediately terminate, upon:
    assignment or grant any coverage that benefits a                          (1) Payment in full of the obligation assumed
    person or organization holding, storing or moving                              under the mortgage agreement, except in
    property for a fee regardless of any other provision                          cases where the named insured has
    of this Certificate.                                                          specified otherwise; or
16. Cancellation.                                                             (2) The effective date of other insurance
    a. The named insured may cancel this Certificate                              obtained by the borrower which complies
         at any time by returning it to us or by letting us                       with the named insured's requirements.
         know in writing of the date cancellation is to                   d. When this Certificate is cancelled, the premium
         take effect.                                                         for the period from the date of cancellation to
         No cancellation may be effected more than                            the expiration date will be refunded pro rata.
         thirty (30) days before the date such request is                 e. If the return premium is not refunded with the
         received by us; unless                                               notice of cancellation or when this Certificate
         (1) There was other valid and collectible                            is returned to us, we will refund it within a
              insurance coverage for the covered                              reasonable time after the date cancellation
              property, or                                                    takes effect.
         (2) The named insured has obtained our prior                 17. Non-Renewal. We may elect not to renew this
              approval.                                                   Certificate. We may do so by delivering to the
    b. We may cancel this Certificate only for the                        named insured, or mailing to the named insured
         reasons stated below by letting you know in                      at the named insured's mailing address shown in
         writing of the date cancellation takes effect.                   the Declarations, written notice at least 30 days
         This cancellation notice may be delivered to                     before the expiration date of this Certificate. Proof
         the named insured, or mailed to the named                        of mailing will be sufficient proof of notice.
        insured at the named insured's mailing                        18. Liberalization Clause. If we make a change which
                                                                          broadens coverage under this edition of our




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    Certificate without additional premium charge,                           smoke, whether these perils are specifically
    that change will automatically apply to your                             named in or otherwise included within the
    insurance as of the date we implement the change                         Perils Insured Against.
    in your state, provided that this implementation                     c. This Certificate does not apply to loss caused
    date falls within 60 days prior to or during the                         directly or indirectly by nuclear hazard, except
    Certificate period stated in the Declarations.                           that direct loss by fire resulting from the
    This Liberalization Clause does not apply to changes                     nuclear hazard is covered.
    implemented through introduction of a subsequent                 22. Salvage and Recoveries. When, in connection with
    edition of our Certificate.                                          any loss covered by this Certificate, any salvage or
19. Waiver or Change of Certificate Provisions. A                        recovery is received subsequent to the payment of
    waiver or change of a provision of this Certificate                  such loss, the loss shall be refigured on the basis of
    must be in writing by us to be valid. Our request                    what it would have been settled for had the
    for an appraisal or examination will not waive any                   amount of salvage or recovery been known at the
    of our rights.     No course of conduct nor any                      time the amount of loss was originally determined.
    indulgences, waivers, extensions forbearances, non-                  Any amounts thus found to be due any party shall
    enforcement of Certificate conditions, or the like,                  be promptly paid.
    extended at or over any time or from time to time                23. Volcanic Eruption Period. One or more volcanic
    by the Company to the named insured or anyone                        eruptions that occur within a 72-hour period will be
    shall waive, nullify, or modify any Certificate                      considered as one volcanic eruption.
    provision as to any other occasion or waive, nullify,            24. Premiums. The named insured is authorized to
    or modify any other Certificate provision.                           advance all funds to be recovered from the
20. Assignment. Assignment of this Certificate will not                  borrower for the insurance afforded and to act for
    be valid unless we give our written consent.                         such borrower in all matters pertaining to this
21. Nuclear Hazard Clause                                                insurance     including    receipt   of   notice    of
    a. Nuclear Hazard means any nuclear reaction,                        cancellation, and return premium, if any.
        radiation or radioactive contamination, all
        whether controlled or uncontrolled or however
        caused, or any consequence of any of these.
    b. Loss caused by the nuclear hazard will not be
        considered loss caused by fire, explosion, or




In Witness     Whereof, we have caused this Certificate to be signed by our President and Secretary, but it shall
not be valid unless countersigned on the Declarations by our authorized representative (where required by state law).




                        SECRETARY                                                            PZ SIDENT




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                                                                                      Mortgagee's Interest Protection
                                                                                      Residential Property
                                                                                      Florida Amendatory Endorsement

            THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.

COVERAGES                                                            be performed either by you, an insured seeking
                                                                     coverage, or a representative of either:
OTHER COVERAGES
                                                                     a.   Give prompt notice to us or our agent.
3. Reasonable Repairs is deleted and replaced by the
   following:                                                             Except for Reasonable Emergency Measures taken
                                                                          under Other Coverage 3.d., there is no coverage
3. Reasonable Emergency Measures                                          for repairs that begin before the earlier of:
   a. We will pay up to the greater of $3,000 or 1% of                    (1) 72 hours after we are notified of the loss;
      your Coverage A limit of liability for the                          (2) The time of loss inspection by us; or
      reasonable costs incurred by you for necessary                      (3) The time of other approval by us.
      measures taken solely to protect covered property
                                                                          A claim or reopened claim for loss or damage
      from further damage, when the damage or loss is
                                                                          caused by hurricane or other windstorm is barred
      caused by a Peril Insured Against,
                                                                          unless notice of claim is given to us in
   b. We will not pay more than the amount in a. above,
                                                                          accordance with the terms of this Certificate
      unless we provide you approval within 48 hours of
                                                                          within three years after the hurricane first made
      your request to us to exceed the limit in a. above,
                                                                          landfall or a windstorm other than hurricane
      In such circumstance, we will pay only up to the
                                                                          caused the covered damage. (Supplemental claim
      additional amount for the measures we authorize.
                                                                          or reopened claim means an additional claim for
      If we fail to respond to you within 48 hours of your
                                                                          recovery from us for losses from the same
      request to us and the damage or loss is caused by a
                                                                          hurricane or other windstorm which we have
      Peril Insured Against, you may exceed the amount
                                                                          previously adjusted pursuant to the initial claim.)
      in a. above only up to the cost incurred by you for
      the reasonable emergency measures necessary to                      This provision concerning time for submission of
      protect the covered property from further damage                    claim, supplemental claim or reopened claim
   c. If, however, form MIP 304 FL is a part of your                      does not affect any limitation for legal action
      Certificate and a covered loss occurs during a                      against us as provided in this Certificate under
      hurricane, as described in form MIP 304 FL, the                     Legal Action Against Us, including any
      amount we pay under this Other Coverage is not                      amendment to that condition;
      limited to the amount in a. above.
   d. A reasonable measure taken under this Other                    b. (1) To the degree reasonably possible, retain the
      Coverage 3. may include a permanent repair when                       damaged property; and
      necessary to protect the covered property from                    (2) Allow us to inspect, subject to b.(1) above,
      further damage or to prevent unwanted entry to                        all damaged property prior to its removal
      the property. To the degree reasonably possible,                      from the Described Location.
      the damaged property must be retained for us to                c. Protect the covered property from further
      inspect,                                                          damage. The following must be performed:
   e. This coverage does not:                                           (1) Take reasonable emergency measures that
      (1) Increase the limit of liability that applies to                   are necessary to protect the covered
           the covered property;                                            property from further damage, as provided
      (2) Relieve you of your duties, in case of a loss to                  under Other Coverage 3.d.;
           covered property, as set forth in Condition 4.                   A reasonable emergency measure under c.(1)
      (3) Pay for property not covered, or for repairs                      above may include a permanent repair when
           resulting from a peril not covered, or for loss                  necessary to protect the covered property
          excluded in this Certificate.                                     from further damage or to prevent unwanted
                                                                            entry to the property. To the degree
CONDITIONS                                                                  reasonably possible, the damaged property
                                                                            must be retained for us to inspect.
4. Your Duties After Loss is deleted and replaced by the                (2) Keep an accurate record of repair expenses;
   following:
                                                                     d. Cooperate with us or our representative in the
4. Your Duties After Loss. In case of a loss to covered                 investigation of a claim;
   property, we have no duty to provide coverage under
   this Certificate if the failure to comply with the                e. As often as we reasonably require:
   following duties is prejudicial to us. These duties must




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         (1)Show the damaged residential property.                     b. Bear the other expenses of the appraisal and
            However, if we require access to you or to                    umpire equally.
            the residential property that is the subject of
                                                                           If there is an appraisal, we will still retain our
            a claim, we must provide at least 48 hours
                                                                           right to deny the claim.
            notice to you, your public adjuster or legal
            representative before scheduling a meeting           11. Action Against     Us is deleted and replaced by the
            with you or prior to conducting an onsite                following:
            inspection of the residential property. You          11. Action Against     Us. No action can be brought unless
            may deny access to the residential property              the Certificate     provisions have been complied with
            if the notice has not been provided or may               and the action     is started within five years after the
            waive the 48-hour notice;                                date of loss.
        (2) Provide us with records and documents we
            request and permit us to make copies; and            16. Cancellation, paragraphs b. and e. are deleted and
                                                                     replaced by the following:
        (3) Submit to examination under oath, while not
            in the presence of any other named insured,
                                                                       b. We may cancel this Certificate for only the
            and sign the same;
                                                                          reasons stated in this Condition by mailing or
    f. Send to us, within 60 days after our request, your
                                                                          delivering written notice of cancellation to the
        signed, sworn proof of loss which sets forth, to
                                                                          named insured at the named insured's mailing
        the best of your knowledge and belief:
                                                                          address shown in the Declarations. The notice will
        (1) The time and cause of loss;
                                                                          include the reason for cancellation.
        (2) Your interest and that of all others in the
                                                                          (1) If this Certificate has been in effect for 90
            property involved and all liens on the
                                                                               days or less, we may cancel this Certificate
            property;
                                                                               for any reason by notifying the named
        (3) Other insurance which may cover the loss;
                                                                              insured, at least:
        (4) Changes in title or occupancy of the property
                                                                               (a) 10 days before the effective date of
            during the term of the Certificate;
                                                                                    cancellation if we cancel for nonpayment
        (5) Specifications    of   damaged      residential
                                                                                    of premium; or
            property and detailed repair estimates.
                                                                               (b) 20 days before the effective date of
    The duties above apply regardless of whether you, an
                                                                                    cancellation, if we cancel for any other
    insured seeking coverage or a representative of either
                                                                                    reason,      except     we    may      cancel
    retains or is assisted by a party who provides legal
                                                                                    immediately if there has been a material
    advice or expert claim advice, regarding an insurance
                                                                                    misstatement or misrepresentation or a
    claim under this Certificate.
                                                                                    failure to comply with underwriting
5. Loss Settlement, the following item (5) is added                                 requirements established by us.
                                                                          (2) If this Certificate has been in effect for more
   under paragraph b.:
                                                                               than 90 days, we may cancel this Certificate
                                                                              only for one or more of the following reasons,
        (5) If the loss or damage occurs to pool
            enclosures, cabanas, screened porches or                           at least:
            other shelter-type structures attached to the                      (a) 10 days before the effective date of
                                                                                    cancellation if we cancel for nonpayment
            dwelling, we will pay no more than ten
            percent (10%) of the Limit of Liability of this                         of premium; or
                                                                               (b) 90 days before the effective date of
            Certificate applying to the dwelling. This
            Condition does not increase the Limit of                                cancellation if we cancel for one or more
            Liability applying to the dwelling,                                     of the following reasons:
                                                                                    1) The Certificate was obtained by a
8. Appraisal is deleted and replaced by the following:                                   material misstatement;
                                                                                    2) There has been failure to comply
8. Appraisal.                                                                            with      underwriting    requirements
   If we and you disagree on the value of the residential                                established by us within 90 days of
   property or the amount of loss, either may request an                                 the effective date of coverage;
   appraisal of the loss, in writing. In this event, each                           3) There has been a substantial change
   party will select a competent and impartial appraiser.                                in the risk covered by the Certificate;
   The two appraisers will select an umpire. If they                                4) The cancellation is for all insureds
   cannot agree, either may request that selection be                                    under such Certificates for a given
   made by a judge of a court having jurisdiction. The                                   class of insureds;
   appraisers will state separately the value of the                                5) On the basis of property insurance
   residential property and amount of loss. If they fail                                 claims that are the result of an act of
   to agree, they will submit their difference to the                                    God, if we can demonstrate, by
   umpire. A decision agreed to by any two will be                                       claims frequency or otherwise, that
   binding.
   Each party will:
   a. Pay its chosen appraiser; and


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                  you have failed to take action                       returned to us, we will mail the refund within 15
                  reasonably necessary as requested by                 working days after the date cancellation takes
                  us to prevent recurrence of damage to                effect.
                  the residential property;
               6) On the basis of a single property            17. Non-Renewal is      deleted   and   replaced    by     the
                  insurance claim which is the result of           following:
                  water damage, if we can demonstrate
                  that you have failed to take action          17. Non-Renewal.
                  reasonably requested by us to prevent            a. We may elect not to renew this Certificate. We
                  a future similar occurrence of damage               may do so by notifying the named insured at
                  to the residential property; or                     least 90 days before the end of the Certificate
               7) The cancellation of some or all of our              period:
                  Certificates is necessary to protect the         b. Any notice of non-renewal will be mailed or
                  best interests of the public or                     delivered to the named insured's mailing
                  Certificateholders       and       such             address shown in the Declaration and will include
                  cancellation is approved by the Florida             the reason for non-renewal. If notice is mailed,
                  Office of Insurance Regulation.                     proof of mailing will be sufficient proof of notice.

   e. If the return premium is not refunded with the
      notice of cancellation or when this Certificate is




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                                                          Mortgagee's Interest Protection
                                                          Wind, Hail and Hurricane Florida
                                                                                   -


                                                          Mandatory Deductible Endorsement



             THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.


When loss occurs caused by the peril of
Windstorm, Hail or Hurricane, the deductible
will be the greater of 2% of the Limit of
Liability or $2,000, per described location.

Hurricane Occurrence:

    a. Begins at the time a hurricane
       watch or warning is issued for
       any part of Florida by the
       National Hurricane Center of
       the National Weather Service;
    b. Continues for the time period
       during which the hurricane
       conditions exist anywhere in
       Florida; and
    c. Ends 72 hours following the
       termination     of    the     last
       hurricane watch or hurricane
       warning issued for any part of
       Florida    by     the    National
       Hurricane     Center    of     the
       National Weather Service.




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




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                                                                                   Mortgagee's Interest Protection
                                                                                   Residential Property
                                                                                   Florida Catastrophic Ground Cover Collapse
                                                                                   & Sinkhole Loss Coverage Endorsement


            THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.

DEFINITIONS                                                                   under the Florida Building Code for new
                                                                              buildings of similar structure, purpose or
The following definitions are added:                                          location;
                                                                          c. Damage that results in listing, leaning or
8. Catastrophic Ground Cover Collapse                means                    buckling of the exterior load-bearing walls or
    geological activity that results in all of the                            other vertical primary structural members to
    following:                                                                such an extent that a plumb line passing
    a. The abrupt collapse of the ground cover;                               through the center of gravity does not fall
    b. A depression in the ground cover clearly visible                       inside the middle one-third of the base as
         to the naked eye;                                                    defined within the Florida Building Code;
    c. Structural damage of the dwelling insured                          d. Damage that results in the building, or any
         under this Certificate, including the foundation;                    portion of the building containing primary
         and                                                                  structural members or primary structural
    d. The dwelling being condemned and ordered to                            systems,     being    significantly   likely to
         be vacated by the governmental agency                                imminently collapse because of the movement
         authorized by law to issue such an order for that                    or instability of the ground within the
         dwelling,                                                            influence zone of the supporting ground within
    Catastrophic ground cover collapse coverage does                          the sheer plane necessary for the purpose of
    not apply to Coverage B structures.                                       supporting such building as defined within the
9. Sinkhole activity means settlement or systematic                           Florida Building Code; or
    weakening of the earth supporting the covered                         e. Damage occurring on or after October 15,
    building. The settlement or systematic weakening                          2005, that qualifies as substantial structural
    must result from contemporaneous movement or                              damage as defined in the Florida Building
    raveling of soils, sediments or rock material into                        Code.
    subterranean voids created by the effect of water                 12. Primary Structural Member means a structural
    on limestone or similar rock formations.                              element designed to provide support and stability
10. Sinkhole loss means structural damage to the                          for the vertical or lateral loads of the overall
    dwelling or foundation:                                               structure.
    a. Arising out of; or                                             13. Primary Structural System means an assemblage
    b. Caused by;                                                         of primary structural members.
    sinkhole activity.
11. Structural Damage means a dwelling, regardless of                 OTHER COVERAGES
    the date of its construction, has experienced the
    following:                                                        The following Other Coverages are added:
    a. Interior floor displacement or deflection in
         excess of acceptable variances as defined in ACI             8. Catastrophic Ground Cover Collapse Coverage.
         117-90 or the Florida Building Code, which                      We will pay for loss to the dwelling caused by the
         results in settlement-related damage to the                     peril of catastrophic ground cover collapse.
         interior such that the interior building structure              This coverage does not increase the Coverage A
         or members become unfit for service or                          Limit of Liability that applies to the damaged
         represent a safety hazard as defined within the                 property.
         Florida Building Code;                                       9. Sinkhole Loss Coverage.
    b. Foundation displacement or deflection in excess                   We insure for direct physical loss to the dwelling
         of acceptable variances as defined in ACI 318-95                caused by a sinkhole loss, including the costs
         or the Florida Building Code, which results in                  incurred to:
         settlement-related damage to the primary                        a. Stabilize the land and the dwelling; and
         structural members or primary structural                        b. Repair the foundation;
         systems that prevents those members or                          in accordance with the recommendations of the
         systems from supporting the loads and forces                    professional engineer who verifies the presence of
         they were designed to support to the extent                     a sinkhole loss in compliance with Florida sinkhole
         that stresses in those primary structural                       standards and with notice to you.
         members or primary structural systems exceed
         one and one-third the nominal strength allowed



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GENERAL EXCLUSIONS                                                            However, if the cost to repair or replace the
                                                                              damage is both:
Paragraph I .b. Earth Movement is deleted and replaced                        (3) Less than 5% of the amount of insurance in
by the following:                                                                  this Certificate on the building; and
                                                                              (4) Less than $2,500;
     b. Earth Movement,                                                       we will settle the loss as noted in this
        Earth Movement means:                                                 condition whether or not you have entered
        (I) Earthquake, including land shock waves or                         into a contract to perform the building
             tremors before, during or after a volcanic                       stabilization or foundation repairs.
            eruption;                                                      d. If we deny your claim for sinkhole loss
        (2) Landslide, mudslide or mudflow;                                   without performing testing as specified under
        (3) Subsidence or sinkhole; or                                        Florida law, you may demand such testing by
        (4) Any other earth movement including earth                          writing to us within 60 days after you receive
            sinking, rising or shifting;                                      our denial of the claim. You must pay the
        caused by or resulting from human or animal                           lesser of:
        forces or any act of nature unless direct loss by                     (1) 50% of the actual costs of the analyses and
        fire or explosion ensues and then we will pay                              services we provide under Florida law; or
        only for the ensuing loss.                                            (2) $2,500.
        This exclusion does not apply to loss by                              However, if the professional engineer or
        catastrophic ground cover collapse or sinkhole                        geologist selected or approved by us provides
        loss,                                                                 written certification of a sinkhole loss, we
                                                                              will reimburse you for the costs.
                                                                           e. If we:
CONDITIONS
                                                                              (I) Receive written certification that there is
                                                                                   no sinkhole loss or that the cause of
5.   Loss Settlement
                                                                                   damage was not sinkhole activity and
     With respect to a loss to the dwelling caused by a
                                                                                   determine that you submitted a claim for
     sinkhole loss, Paragraphs c. and d. of the Loss
                                                                                   sinkhole loss without good faith grounds;
     Settlement Condition are replaced by the following
                                                                                   and
     paragraphs:
                                                                              (2) You requested the testing, analysis and
     c. We will pay no more than the actual cash value
                                                                                   services we provided as specified under
         of the damaged property, not including
                                                                                   Florida law after we informed you in
         underpinning or grouting or any other repair
                                                                                   writing of your potential liability for
         technique performed below the existing
                                                                                   reimbursement       and    gave     you   the
         foundation of the dwelling, until you enter into
                                                                                   opportunity to withdraw the claim,
         a contract for the performance of building
                                                                              you must reimburse us for the lesser of:
         stabilization    or    foundation   repairs,   in
                                                                              (3) 50% of the actual costs of the analyses and
         accordance with the recommendations of the
                                                                                   services we provided under Florida law; or
         professional engineers report and within 90 days
                                                                              (4) $2,500.
         after we notify you with confirmation of
                                                                           f. If the professional engineer selected or
         coverage for the sinkhole loss. If either you or
                                                                              approved by us verifies a sinkhole loss but,
         we invoke the neutral evaluation process, the
                                                                              before repairs have begun or expenses have
         90-day period begins anew 10 days after that
                                                                              been      incurred,     determines      that   the
         process concludes. Once you enter into such
                                                                              recommended repairs cannot be completed
         contract, we will settle the loss as described in
                                                                              within the Certificate limits, we must either:
         this condition and pay the amount necessary to
                                                                              (I) Complete the recommended repairs; or
         begin and perform such repairs as work is
                                                                              (2) Pay the Certificate limits.
         performed and as expenses are incurred. The
                                                                           g. If the repairs have begun and the professional
         stabilization and all other repairs to the
                                                                              engineer     selected     or  approved     by   us
         dwelling must be completed within 12 months
                                                                              determines that the recommended repairs
         after entering into such contract for repairs,
                                                                              cannot be completed within the Certificate
         unless:
                                                                              limits, we must either:
         (I) There is a mutual agreement between you
                                                                              (I) Complete the recommended repairs; or
              and us; or
                                                                              (2) Pay the Certificate limits without a
         (2) The claim is:
                                                                                   reduction     for    the    repair   expenses
             (a) Involved in neutral evaluation;
                                                                                   incurred.
             (b) In litigation; or
                                                                           h. As a precondition to accepting payment for a
             (c) Under mediation.
                                                                              sinkhole loss, you must, at your own
                                                                              expense, file with the county clerk of the




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       court a copy of any sinkhole report regarding                    reasonable efforts to hold the neutral evaluation
       the insured property that was:                                   conference within 90 days after receipt of the
       (1) Prepared on your behalf; or                                  request by the Department. The neutral evaluator
       (2) Requested by you.                                            must be allowed reasonable access to the property
       You may not accept a rebate from any person                      being evaluated. Before the evaluators physical
       performing repairs for sinkhole loss covered                     inspection of the property, he or she must be
       under this endorsement. If you receive a rebate,                 provided with any reports initiated by you or your
       no coverage is provided under this endorsement                   agent confirming a sinkhole loss or disputing
       and you must refund the amount of the rebate                     another sinkhole report. The recommendation of
       to us.                                                           the neutral evaluator will not be binding on you or
                                                                        US.
8. Mediation Or Appraisal                                               We will pay the reasonable costs associated with
   With respect to coverage provided by this                            the neutral evaluation.
   endorsement, the Mediation Or Appraisal Condition
   is replaced by the following:                                   11. Action Against Us
8. Neutral Evaluation                                                  With respect to coverage provided by this
   Following receipt by us of a report from a                          endorsement, the Action Against Us Condition is
   professional engineer or professional geologist on                  replaced by the following:
   the cause of loss and recommendations for                       11. Action Against Us
   stabilizing the land and building and foundation                    No action can be brought against us unless there
   repairs, or if we deny your claim, either party may                 has been full compliance with all of the terms of
   file a request with the Florida Department of                       this Certificate and the action is started within
   Financial Services (the Department) for neutral                     five years after the date of loss, except that the
   evaluation in accordance with the rules established                 time for filing suit is extended for a period of 60
   by the Department. In this event, you and we shall                  days following the conclusion of the neutral
   mutually select a neutral evaluator from a list                     evaluation process or five years, whichever is
   maintained by the Department. If you and we fail to                 Later.
   agree on a neutral evaluator within 14 business
   days, the Department shall appoint a neutral
   evaluator. The neutral evaluator shall make


ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




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                                                             Mortgagee's Interest Protection
                                                             Residential Property
                                                             Inflation Protection Endorsement

            THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.

OTHER COVERAGES

The following item is added:

8. Inflation Protection
   The Limit of Liability for Coverage A shown on
   the Declarations will be adjusted at
   Certificate anniversary by the national
   residential average building cost trend factor
   published by Marshall & Swift!Boeckh.
   The premium for this Certificate at the next
   anniversary date will be based on the
   Coverage A Limit of Liability determined on
   that date by the provisions of this coverage.
   The Coverage A Limit of Liability will not be
   reduced during the current Certificate term
   below that for which premium was paid.




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




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                                                              Mortgagee's Interest Protection
                                                              Residential Property
                                                              Florida Replacement Cost Endorsement I


           THIS ENDORSEMENT CHANGES THE CERTIFICATE. PLEASE READ IT CAREFULLY.


It is understood and agreed that throughout             12. Loss Payment is deleted and replaced by
this Certificate you and your refer to the                  the following:
financial institution as named insured and the          12. Loss Payment. We will adjust all losses
borrower shown in the Declarations.                         with the named insured.         Loss will be
                                                            made payable to the named insured and
CONDITIONS                                                  the borrower as their interests appear,
                                                            either by a single instrument or by separate
5. Loss Settlement, paragraph b. is replaced by             instruments payable respectively to the
   the following:                                           named insured and the borrower, at our
   b. Buildings under Coverage A or B at                    option.
       replacement cost without deduction for               No coverage will be available to any
       depreciation, subject to the following:              mortgagee other than that shown as the
                                                            named insured on            the Declarations.
       We will pay the cost to repair or                    Provided you have complied with all the
       replace, after application of any                    terms of this Certificate, we will pay for
       deductible and without deduction for                 covered loss or damage upon the earliest of
       depreciation, but not more than the                  the following:
       least of the following amounts:                      a. Within 20 days after we receive the
       (I) The Limit of Liability under this                     sworn proof of loss and reach written
           Certificate that applies to the                       agreement with you;
           residential property;                            b. Within 30 days after we receive the
       (2) The replacement cost of that part                     sworn proof of loss and:
           of     the      residential    property               (1) There is an entry of a final
           damaged with material of like kind                         judgment; or
           and quality and for like use; or                      (2) There is a filing of an appraisal
       (3) The necessary amount actually                              award with us; or
           spent to repair or replace the                   c. Within 90 days of receiving notice of an
           damaged residential property.                         initial,  reopened      or supplemental
       (4) If the loss or damage occurs to pool                  claim, unless we deny the claim during
           enclosures,       cabanas,     screened               that time or factors beyond our control
           porches      or    other    shelter-type              reasonably prevent such payment. If a
           structures       attached     to     the              portion of the claim is denied, then the
           dwelling, we will pay no more than                    90-day time period for payment of
           ten percent (10%) of the Limit of                     claim relates to the portion of the
           Liability of this Certificate applying                claim that is not denied.
           to the Dwelling.         This Condition
           does not increase the Limit of
           Liability applying to the Dwelling.




ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




MIP 239 FL (02-13)                              Page 1 of 1                                   MIP239FL-0813
            Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 33 of 78

                        American Security Insurance Company


                                      IMPORTANT NOTICE

Here are the facts:


1) We need to know      Your mortgage loan requires that your property have appropriate insurance on it at all
you have insurance,     times. This is to protect all parties against uninsured damage to the property.

2) You have been        You have received at least two legal notices on this subject (3 to 4 page letters explaining
sent formal notice,     the need for insurance coverage and the lender-placed process).

3) We have not          To date, we have not heard from you regarding your insurance and we do not have proof of
                        coverage for your property. We need to hear from you regarding proof of insurance
heard from you.         coverage on your property.


Here is what you need to do:

 '-
         Get Insurance Contact an authorized insurer or agent to obtain coverage
                          -



         other than Lender Placed Insurance.

         If you are not able to obtain coverage from an authorized insurer, you may be eligible for a
         policy from Florida's state-run insurer of last resort, Citizens Property Insurance
         Corporation. You can contact Citizens at 1-888-685-1555 or log on to their website at
         www.citizensfla.com.

         Take Action -The vast majority of mortgage holders prefer to select their own insurance
         carrier and their own coverage. We encourage you to do the same. Lender-placed
         coverage is not the same as getting your own insurance. The cost may be higher and it may
         only provide limited protection for you.


         Log-on If you have any questions regarding the Consent Order that American Security
                   -



         Insurance Company has agreed to with the Florida Office of Insurance Regulation, please
         visit our website at
         http://www.assurantspecialtVpropertV.com/news/Regulatory Notices!Notice 10082013. htrnl
          or scan the QR Code below:




                   Don't let this happen. Avoid lender-placed insurance.




N0T11256 (03-14)                                                                                     N1256-0314
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                EXHIBIT "B"
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                Advocate Public Adjusting
                1558 NE 1162nd Street, Unit A
                Noth Miami, FL 33162

          Insured:    Nancy Ann & Delmar Scott Meyers
         Property:    4281 Pace Lane
                      Pace, FL 32571


      Claim Rep.:     Advocate Public Adjusting                                          Business:   (786) 310-6120
        Business:     1558 NE 162nd Street Unit A                                         E-mail:    jasonpaadvocate .com
                      Noth Miami Beach, FL 33162


  Claim Number: 00102857003                  Policy Number: MLR08578666511603                Type of Loss: Hurricane

    Date of Loss:     9/16/2020                            Date Received:
   Date Inspected:                                          Date Entered:     6/7/2021

        Price List:   FLPE8X JUN21
                      Restoration/Service/Remodel
         Estimate:    APA-DELMAR-SCOTT-2

This is a repair estimate only. The insurance company policy may contain provisions that will reduce any payments that
might be made This is not an authorization to repair. Authorization to repair 01 guarantee of payment must come from
the owner of the property. No adjuster or appraiser has the authority to authorize repair or guarantee of payment.

 The following estimate has been prepared based on representation made by the insured. The work outlined in the
following pages will be preformed in accordance with all the standards set forth by the South Florida Building Code An
additional credits or work required by the client will be processed in the form of a change order.

 Florida Statute 626.954 (1)
"Unfair Insurance Trade Practice Act"
Specifically addresses the matter of unfair claim settlement practices
1. Not attempting in good faith to settle claims when, under all the circumstances, it could and should of done so, had it
acted fairly and honestly toward its insured and with due regard for her or his interests.

 Pursuant to s.817.234, Florida Statues, any person who, with the intent to injure, defraud, or deceive any insurer or
insured, prepares, presents, or causes to be presented a proof of loss or estimate of cost or repair of damaged property in
support of a claim under an insurance policy knowing that the proof of loss or estimate of claim or repairs contains false,
incomplete, or misleading information concerning any fact or thing material the claim commits a felons of the third
degree, punishable as provided
                           ided in s.775.082, s.775.803, 01 s.775.084, Florida Statues
                Case 3:22-cv-10332-MCR-ZCB Document 1-4 Filed 07/25/22 Page 36 of 78

                   Advocate Public Adjusting
                   1558 NE 1262nd Street, Unit A
                   Noth Miami, FL 33162


                                                       APA-DELMAR-SCOTT-2



                                     Front Elevation

 DESCRIPTION                                     QTY      REMOVE        REPLACE       TAX          O&P      TOTAL

 Add. charge for aretrofit window            8.00 EA           0.00         216.28    10.19      348.08     2,088.51
 R&R Aluminum window- 12-23 sf(2             5.00 EA          23.93         294.84    75.79      333.94     2,003.58
 pane)
 R&R Aluminum window- 24-32 sf               3.00 EA          37.48         371.12    58.87      256.94     1,541.61
 R&RPatioCover - Attached -                373.54 SF           2.16          15.58   311.16    1,387.58     8,325.34
 Aluminum

 Totals: Front Elevation                                                             456.01     2,326.54   13,959.04




                                     Right Elevation

 DESCRIPTION                                     QTY      REMOVE        REPLACE       TAX          O&P      TOTAL

 Add. charge for a retrofit window           1.00 EA           0.00         216.28     1.27       43.52      261.07
 R&R Aluminum window- 12-23 sf(2             1.00 EA          23.93         294.84    15.16       66.78      400.71
 pane)

 Totals: Right Elevation                                                              16.43      110.30      661.78

                                                           Left Elevation
 Left Elevation

 DESCRIPTION                                     QTY      REMOVE        REPLACE       TAX          O&P      TOTAL

 Add. charge for a retrofit window           1.00 EA           0.00         216.28     1.27       43.52      261.07
 R&R Aluminum window- 12-23 sf(2             1.00 EA          23.93         294.84    15.16       66.78      400.71
 pane)
 R&RExteriordoor - metal                     1.00 EA          22.71         500.88    28.42      110.40      662.41

 Total: Left Elevation                                                                44.85      220.70     1,324.19




                                     Rear Elevation

 DESCRIPTION                                     QTY      REMOVE        REPLACE       TAX          O&P      TOTAL

 Add. charge for a retrofit window           5.00 EA           0.00         216.28     6.37      217.56     1,305.33
 R&R Aluminum window- 12-23 sf(2             5.00 EA          23.93         294.84    75.79      333.94     2,003.58
 pane)
 R&R Patio Cover Attached
                   -         -             613.36 SF           2.16          15.58   510.93    2,278.40    13,670.34
 Aluminum

 Totals: Rear Elevation                                                              593.09     2,829.90   16,979.25
APA-DELMAR-SCOTT-2                                                                            6/7/2021        Page: 2
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                                       Advocate Public Adjusting
                                       1558 NE 1262nd Street, Unit A
                                       Noth Miami, FL 33162


 Total: Left Elevation                                                                                               637.94       3,050.60      18,303.44

                                                                                             Roof


                1313'                                         Shingle Roof
                                              4"-                            3,057.31 Surface Area                       30.57 Number of Squares
  J_                                                                          273.37 Total Perimeter Length             124.21 Total Ridge Length
  T

  j
      -26   ~      F 6(W(A) 1222' 10-I

 DESCRIPTION                                                                 QTY       REMOVE        REPLACE          TAX            O&P            TOTAL

 Two ladders with jacks and plank (per                                   7.00 DA            0.00         116.63        0.00        163.28            979.69
 day)
 Remove 3 tab 25 yr. composition
                       -                  -                          30.57 SQ              55.48              0.00     0.00        339.20           2,035.22
 shingle roofing incl. felt    -



 3 tab -25 yr. composition shingle
                   -                                                 30.67 SQ               0.00         415.80      210.85       2,592.70      15,556.14
 roofing incl. felt
            -



 R&R Ridge cap composition shingles-                                124.21 LF               2.26              3.63     9.48        148.22            889.29
 R&R Valley metal                                                   273.37 LF               0.61              4.98    38.85        313.42           1,880.41
 R&RRoofvent - turbinetype                                               1.00 EA            9.53         107.54        4.57         24.32            145.96
 R&R Sheathing plywood 5/8" CDX    -                  -             458.55 SF               0.60              3.80    84.42        420.40           2,522.44
 Re-nailing of roof sheathing complete                    -        3,057.31 SF              0.00              0.21     4.28        129.26            775.58
 re-nail
 R&R Flashing pipe jack lead
                           -                      -                      2.00 EA            7.45          72.72        6.48         33.36            200.18
 R&R Drip edge/gutter apron                                         273.37 LF               0.35              2.46    21.81        158.00            947.98
 Digital satellite system Detach &            -                          1.00 EA            0.00          29.92        0.00           5.98            35.90
 reset
 Digital satellite system alignment and       -                          1.00 EA            0.00          89.77        0.00         17.96            107.73
 calibration only
 R&RSoffit - metal                                                  273.37 SF               0.32              5.40    58.36        324.42           1,946.46
 Prime&paintexteriorsoffit - metal                                  273.37 SF               0.00              1.78     4.78         98.28            589.66
 R&RFascia - metal                                                  273.37 LF               0.35              4.30    37.31        261.70           1,570.18
 Prime &paint exterior fascia                                       273.37 LF               0.00              1.41     2.49         77.60            465.54
 Roofer - per hour                                                   32.00 HR               0.00         104.11        0.00        666.30           3,997.82

 Totals: Shingle Roof                                                                                                483.68       5,774.40      34,646.18

 Total: Roof                                                                                                         483.68       5,774.40      34,646.18




                                                              Exterior


APA-DELMAR-SCOTT-2                                                                                                              6/7/2021              Page: 3
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                                 Advocate Public Adjusting
                                 1558 NE 1262nd Street, Unit A
                                 Noth Miami, FL 33162


                                                                     CONTINUED Exterior -




 DESCRIPTION                                                 QTY         REMOVE             REPLACE             TAX            O&P            TOTAL

 Clean the surface area with pressure               1,483.36 SF                  0.00            0.86           17.65        258.68           1,552.02
 steam
 R&R Storage shed - Metal                              1.00 EA                 198.66        2,551.50          132.33        576.50           3,458.99

 Totals: Exterior                                                                                              149.98         835.18          5,011.01

                                                                            Main Level




                                         hr
                  148"
                                               Entry/Foyer                                                                               Height: 9'



                                         Dl
                                                                 331.05 SF Walls                                  193.11 SF Ceiling
                Entry/Foyer                                      524.16 SF Walls & Ceiling                        193.11 SF Floor
                                                                  21.46 SYFlooring                                 33.08 LF Floor Perimeter
                                                                  55.67 LF Ceil. Perimeter
      1261                 1241
      I-7' 8"I-I--lO'-----------I

 Missing Wall Goes to Floor
                     -                                            7' 11" X 6' 8"                        Opens into KITCHEN
 Missing Wall                                                     14'8" X 9'                            Opens into LIVING- ROOM

 DESCRIPTION                                                 QTY         REMOVE             REPLACE             TAX            O&P            TOTAL

 Heat/AC register Mechanically
                             -                         2.00 EA                   0.00          12.80             0.00           5.12            30.72
 attached Detach & reset
            -



 Light fixture - Detach& reset                         1.00 EA                   0.00          48.50             0.00           9.70            58.20
 Chandelier - Detach& reset                            1.00 EA                   0.00         126.10             0.00         25.22            151.32
 R&R Batt insulation - 10" - R30 -                   193.11 SF                   0.38            1.37           11.90         69.98            419.82
 unfaced batt
 R&R 5/8" drywall - hung, taped,                     193.11 SF                   0.45           2.86             7.84        129.40            776.43
 floated, ready for paint
 R&R Acoustic ceiling (popcorn)                      193.11 SF                   0.49            1.21            0.81         65.82            394.91
 texture
 R&R Window blind PVC 1" -7.1 to     -   -             1.00 EA                  10.66          60.72             1.39         14.56             87.33
 14 SF
 Mirror 1/4" plate glass
        -                                            123.50 SF                   0.00          17.37           108.15        450.68           2,704.03
 Outlet or switch Detach & reset
                         -                             4.00 EA                   0.00          17.40             0.00         13.92             83.52
 Mask wall - plastic, paper, tape (per LF)            55.67 LF                   0.00            1.58            1.01         17.80            106.77
 Seal more than the ceiling w/latex                  400.66 SF                   0.00            0.52            1.96         42.06            252.36
 based stain blocker one coat    -



 Paint more than the ceiling two coats   -           400.66 SF                   0.00            0.87            7.01          71.12           426.70
 Paint door/window trim &jamb                          1.00 EA                   0.00          27.35             0.34           5.54            33.23
 Paint door slab only                                  1.00 EA                   0.00          33.27             0.58           6.78            40.63
 Doorknob/lockset - Detach&reset                       1.00 EA                   0.00          22.18             0.00           4.44            26.62
 Floor protection- self-adhesive plastic             193.11 SF                   0.00            0.57            1.89         22.40            134.36
 film
APA-DELMAR-SCOTT-2                                                                                                        6/7/2021              Page: 4
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                                       Advocate Public Adjusting
                                       1558 NE 1262nd Street, Unit A
                                       Noth Miami, FL 33162


                                                                                         CONTINUED Entry/Foyer
                                                                                                       -




 DESCRIPTION                                                                       QTY       REMOVE         REPLACE               TAX            O&P            TOTAL
 Paintbaseboard - one coat                                                 33.08 LF                 0.00           0.82            0.21           5.46            32.80
 Clean floor                                                              193.11 SF                 0.00           0.36            0.00         13.90             83.42

 Totals: Entry/Foyer                                                                                                             143.09         973.90          5,843.17




                                                                     Living Room                                                                         Height: Peaked
           I               25' 10"                     I
       •                   25'6"                   111                              421.94 SF Walls                                 331.80 SF Ceiling
 Cl1E                                                  ILa
                       Uvrng Room                  iIL_r                            753.75 SF Walls & Ceiling                       333.63 SF Floor
 ath
                                                                                      37.07 SYFlooring                               51.67 LF Floor Perimeter
                                                                                      51.86 LF Ceil. Perimeter


 Missing Wall                                                                         14'8" X 8'                          Opens into ENTRY- FOYER
 Missing Wall                                                                         10'6" X 8'                          Opens into KITCHEN
 DESCRIPTION                                                                       QTY       REMOVE         REPLACE               TAX            O&P            TOTAL
 Heat/AC register Mechanically     -                                        1.00 EA                 0.00          12.80            0.00           2.56            15.36
 attached Detach & reset
               -



 Ceiling fan Detach & reset
                       -                                                    1.00 EA                 0.00         172.73            0.00         34.54            207.27
 Remove Tear off painted acoustic                                         331.80 SF                 0.96           0.00            0.00         63.70            382.23
 ceiling (popcorn) texture
 R&R Batt insulation 10" R30                   -   -             -         32.00 SF                 0.38           1.37            1.97         11.60             69.57
 unlaced batt
 R&R 5/8" drywall hung, taped,         -                                   32.00 SF                 0.45           2.86            1.30         21.44            128.66
 floated, ready for paint
 R&R Acoustic ceiling (popcorn)                                           331.80 SF                 0.49           1.21            1.39        113.10            678.55
 texture
 Stain & finish wood beam                                                 135.86 SF                 0.00           2.26            4.09         62.22            373.35
 R&R Window blind PVC 1" 7.1 to                -       -     -              1.00 EA                10.66          60.72            1.39         14.56             87.33
 14 SF
 Outlet or switch Detach & reset
                               -                                            5.00 EA                 0.00          17.40            0.00         17.40            104.40
 Mask wall plastic, paper, tape (per LF)
                   -                                                       51.86 LF                 0.00           1.58            0.94         16.56             99.44
 Clean stone veneer                                                        36.17 SF                 0.00           0.79            0.08           5.74            34.39
 Seal more than the ceiling w/latex                                       750.91 SF                 0.00           0.52            3.68         78.84            472.99
 based stain blocker one coat              -



 Paint more than the ceiling two coats                 -                  750.91 SF                 0.00           0.87           13.14        133.28            799.71
 Paint door/window trim & jamb                                              2.00 EA                 0.00          27.35            0.68         11.08             66.46
 Paint door slab only                                                       1.00 EA                 0.00          33.27            0.58           6.78            40.63
 Door knob/lockset Detach & reset      -                                    1.00 EA                 0.00          22.18            0.00           4.44            26.62
 Floor protection self-adhesive plastic
                               -                                          333.63 SF                 0.00           0.57            3.27         38.70            232.14
 film
APA-DELMAR-SCOTT-2                                                                                                                          6/7/2021              Page: 5
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                                            Advocate Public Adjusting
                                            1558 NE 1262nd Street, Unit A
                                            Noth Miami, FL 33162


                                                                                          CONTINUED Living Room
                                                                                                          -




 DESCRIPTION                                                                       QTY          REMOVE         REPLACE              TAX           O&P            TOTAL
 Paintbaseboard - one coat                                                    51.67 LF                0.00           0.82           0.33           8.54            51.24
 Final cleaning construction-                               -             333.63 SF                   0.00           0.22           0.00         14.68             88.08
 Residential
 Clean floor                                                              333.63 SF                   0.00           0.36           0.00         24.02            144.13

 Totals: Living Room                                                                                                               32.84         683.78          4,102.55




                                                                    Kitchen                                                                                 Height: 9'

                                                                                     289.34 SF Walls                                 138.25 SF Ceiling
                                                                                     427.59 SF Walls & Ceiling                       138.25 SF Floor
                                                                                         15.36 SYFlooring                             28.92 LF Floor Perimeter
                                                                                         47.33 LF Ceil. Perimeter


 Missing Wall Goes to Floor     -                                                        7' 11" X 6' 8"                     Opens into ENTRY- FOYER
 Missing Wall                                                                            10'6" X 9'                         Opens into LIVING- ROOM
 DESCRIPTION                                                                       QTY          REMOVE         REPLACE              TAX           O&P            TOTAL
 Light fixture Detach & reset
                        -                                                      1.00 EA                0.00          48.50           0.00           9.70            58.20
 Remove Tear off painted acoustic                                         138.25 SF                   0.96           0.00           0.00         26.54            159.26
 ceiling (popcorn) texture
 R&R Batt insulation 10" R30                    -       -       -             32.00 SF                0.38           1.37           1.97          11.60            69.57
 unfaced batt
 R&R 5/8" drywall hung, taped,              -                                 32.00 SF                0.45           2.86           1.30         21.44            128.66
 floated, ready for paint
 R&R Acoustic ceiling (popcorn)                                           138.25 SF                   0.49           1.21           0.58         47.12            282.72
 texture
 Refrigerator Remove & reset
                    -                                                          1.00 EA                0.00          34.61           0.00           6.92            41.53
 Refrig. water line Disconnect &        -                                      1.00 EA                0.00          95.78           1.36          19.44           116.58
 reconnect with repairs
            -



 Range electric Remove & reset
        -                       -                                              1.00 EA                0.00          25.96           0.00           5.20            31.16
 Outlet or switch Detach & reset    -                                          6.00 EA                0.00          17.40           0.00         20.88            125.28
 Mask wall plastic, paper, tape (per LF)
                -                                                             47.33 LF                0.00           1.58           0.86         15.14             90.78
 Drywall patch / small repair, ready for                                       1.00 EA                0.00          91.68           0.20         18.38            110.26
 paint
 Texture drywall smooth / skim coat -                                         57.87 SF                0.00           1.60           0.53         18.62            111.74
 Seal part of the walls w/latex based                                     196.12 SF                   0.00           0.52           0.96         20.60            123.54
 stain blocker one coat -



 Paint part of the walls two coats                  -                     196.12 SF                   0.00           0.87           3.43          34.80           208.85
 Floor protection self-adhesive plastic
                                    -                                     138.25 SF                   0.00           0.57           1.36         16.04             96.20
 film

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                              Advocate Public Adjusting
                              1558 NE 1262nd Street, Unit A
                              Noth Miami, FL 33162


                                                                              CONTINUED Kitchen
                                                                                              -




 DESCRIPTION                                                          QTY         REMOVE          REPLACE     TAX            O&P            TOTAL

 Paintbaseboard - one coat                                       7.23 LF               0.00            0.82    0.05           1.20              7.18
 Final cleaning construction
                      -                           -            138.25 SF               0.00            0.22    0.00           6.08            36.50
 Residential
 Clean floor                                                   138.25 SF               0.00            0.36    0.00           9.96            59.73

 Totals: Kitchen                                                                                              12.60         309.66          1,857.74


             Laundry Room           ily/C10
          4'5" '6'___.g            4" 27                  Family Room                                                                  Height: 9'

                                                                          742.50 SF Walls                       424.31 SF Ceiling
                 F-ily Roo.                                             1,166.81 SF Walls & Ceiling             424.31 SF Floor
                                                                           47.15 SYFlooring                      82.50 LF Floor Perimeter
                                                                           82.50 LF Ceil. Perimeter
         U-           2F L                IIj
         1--          22'2--                  I


 DESCRIPTION                                                          QTY         REMOVE          REPLACE     TAX            O&P            TOTAL

 Light fixture - Detach& reset                                   1.00 EA               0.00           48.50    0.00           9.70            58.20
 Remove Tear off painted acoustic                              424.31 SF               0.96            0.00    0.00         81.46            488.80
 ceiling (popcorn) texture
 R&R Batt insulation- 10" -R30                        -         32.00 SF               0.38            1.37    1.97         11.60             69.57
 unlaced batt
 R&R 5/8" drywall hung, taped, -                                32.00 SF               0.45            2.86    1.30         21.44            128.66
 floated, ready for paint
 R&R Acoustic ceiling (popcorn)                                424.31 SF               0.49            1.21    1.78        144.62            867.73
 texture
 Drywall patch/small repair, ready for                           1.00 EA               0.00           91.68    0.20         18.38            110.26
 paint
 Texture drywall                                               742.50 SF               0.00            1.60    6.76        238.96           1,433.72
 Outlet or switch Detach & reset
                          -                                      5.00 EA               0.00           17.40    0.00         17.40            104.40
 Mask wall - plastic, paper, tape (per LF)                      82.50 LF               0.00            1.58    1.50         26.38            158.23
 Seal the walls and ceiling w/latex based                     1,166.81 SF              0.00            0.52    5.72        122.48            734.94
 stain blocker one coat
                  -



 Paint the walls and ceiling two coats    -                   1,166.81 SF              0.00            0.87   20.42        207.10           1,242.64
 Paint door/window trim &jamb                                    5.00 EA               0.00           27.35    1.69         27.70            166.14
 Paint door slab only                                            3.00 EA               0.00           33.27    1.73         20.30            121.84
 Doorknob/lockset - Detach&reset                                 3.00 EA               0.00           22.18    0.00         13.30             79.84
 Floor protection self-adhesive plastic
                          -                                    424.31 SF               0.00            0.57    4.16         49.22            295.24
 film
 Paintbaseboard - one coat                                      82.50 LF               0.00            0.82    0.52         13.64             81.81
 Clean floor                                                   424.31 SF               0.00            0.36    0.00          30.56           183.31


APA-DELMAR-SCOTT-2                                                                                                      6/7/2021              Page: 7
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                       Advocate Public Adjusting
                       1558 NE 1262nd Street, Unit A
                       Noth Miami, FL 33162


                                                          CONTINUED Family Room
                                                                         -




 DESCRIPTION                                       QTY          REMOVE         REPLACE      TAX            O&P            TOTAL
 Totals: Family Room                                                                        47.75       1,054.24          6,325.33




                                       Family/Closet                                                                 Height: 9'

                                                       229.50 SF Walls                         40.64 SF Ceiling
                                                       270.14 SF Walls & Ceiling               40.64 SF Floor
                                                          4.52 SYFlooring                      25.50 LF Floor Perimeter
                                                         25.50 LF Ceil. Perimeter



 DESCRIPTION                                       QTY          REMOVE         REPLACE      TAX            O&P            TOTAL

 Light fixture - Detach& reset                 1.00 EA                0.00          48.50    0.00           9.70            58.20
 R&R Batt insulation 10" R30
                           -   -   -          40.64 SF                0.38           1.37    2.50         14.72             88.34
 unlaced batt
 R&R 5/8" drywall hung, taped,
                       -                      40.64 SF                0.45           2.86    1.65         27.24            163.41
 floated, ready for paint
 Drywall patch/small repair, ready for         1.00 EA                0.00          91.68    0.20         18.38            110.26
 paint
 Texture drywall                             270.14 SF                0.00           1.60    2.46         86.94            521.62
 Closetshelfandrodpackage - Detach            12.11 LF                0.00          11.57    0.00         28.02            168.13
 & reset
 Outlet or switch Detach & reset
                   -                           1.00 EA                0.00          17.40    0.00           3.48            20.88
 Mask wall - plastic, paper, tape (per LF)    25.50 LF                0.00           1.58    0.46           8.16            48.91
 Seal the walls and ceiling w/latex based    270.14 SF                0.00           0.52    1.32         28.36            170.15
 stain blocker one coat
               -



 Paint the walls and ceiling - two coats     270.14 SF                0.00           0.87    4.73         47.94            287.69
 Paint door/window trim &jamb                  1.00 EA                0.00          27.35    0.34           5.54            33.23
 Floor protection self-adhesive plastic
                   -                          40.64 SF                0.00           0.57    0.40           4.72            28.28
 film
 Paintbaseboard - one coat                    25.50 LF                0.00           0.82    0.16           4.22            25.29
 Clean floor                                  40.64 SF                0.00           0.36    0.00          2.92             17.55

 Totals: Family/Closet                                                                      14.22        290.34           1,741.94




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                                Advocate Public Adjusting
                                1558 NE 1262nd Street, Unit A
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                                                    Laundry Room                                                                    Height: 9'


                                    m
        -14'          11"
                                                                   382.50 SF Walls                            94.47 SF Ceiling
        L4Lmmdry              Roo                                  476.97 SF Walls & Ceiling                  94.47 SF Floor
                                        ]E                              10.50 SYFlooring
                                                                        42.50 LF Ceil. Perimeter
                                                                                                              42.50 LF Floor Perimeter




 DESCRIPTION                                                      QTY          REMOVE         REPLACE      TAX            O&P            TOTAL

 Light fixture - Detach& reset                                1.00 EA                0.00          48.50    0.00           9.70            58.20
 R&R Batt insulation- 10" -R30                  -         32.00 SF                   0.38           1.37    1.97         11.60             69.57
 unlaced batt
 R&R 5/8" drywall hung, taped,  -                         32.00 SF                   0.45           2.86    1.30         21.44            128.66
 floated, ready for paint
 Drywall patch/small repair, ready for                        1.00 EA                0.00          91.68    0.20         18.38            110.26
 paint
 Texture drywall                                         476.97 SF                   0.00           1.60    4.34        153.50            920.99
 Washing machine - Remove&reset                               1.00 EA                0.00          33.67    0.00           6.74            40.41
 Dryer - Remove&reset                                         1.00 EA                0.00          25.96    0.00           5.20            31.16
 Outlet or switch Detach & reset
                          -                                   4.00 EA                0.00          17.40    0.00         13.92             83.52
 Mask wall - plastic, paper, tape (per LF)                42.50 LF                   0.00           1.58    0.77         13.60             81.52
 Seal the walls and ceiling w/latex based                476.97 SF                   0.00           0.52    2.34          50.06           300.42
 stain blocker one coat
                 -



 Paint the walls and ceiling two coats      -            476.97 SF                   0.00           0.87    8.35         84.68            507.99
 Paint door/window trim &jamb                                 1.00 EA                0.00          27.35    0.34           5.54            33.23
 Paint door slab only                                         1.00 EA                0.00          33.27    0.58           6.78            40.63
 Doorknob/lockset - Detach&reset                              1.00 EA                0.00          22.18    0.00           4.44            26.62
 Floor protection self-adhesive plastic
                          -                               94.47 SF                   0.00           0.57    0.93         10.96             65.74
 film
 Paintbaseboard - one coat                                42.50 LF                   0.00           0.82    0.27           7.04            42.16
 Clean floor                                              94.47 SF                   0.00           0.36    0.00           6.80            40.81

 Totals: Laundry Room                                                                                      21.39        430.38           2,581.89




                                                    Hallway                                                                         Height: 8'
                              Master batliroo
         1.310.1261                 8'2"                           345.33 SF Walls                            56.87 SF Ceiling
                     OY                                            402.20 SF Walls & Ceiling                  56.87 SF Floor
                                                                         6.32 SYFloonng                       43.17 LF Floor Perimeter
                                                                        43.17 LF Ceil. Perimeter



 DESCRIPTION                                                      QTY          REMOVE         REPLACE      TAX            O&P            TOTAL
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                          Advocate Public Adjusting
                          1558 NE 1262nd Street, Unit A
                          Noth Miami, FL 33162


                                                                   CONTINUED Hallway-




 DESCRIPTION                                              QTY          REMOVE           REPLACE               TAX              O&P         TOTAL

 No visible damage to this room.

 Totals: Hallway                                                                                              0.00              0.00          0.00




                                              Bedroom 1                                                                                Height: 8'

                                                            292.67 SF Walls                                    100.77 SF Ceiling
                                                            393.44 SF Walls & Ceiling                          100.77 SF Floor
                                                                11.20 SYFlooring                                36.58 LF Floor Perimeter
                                                                36.58 LF Ceil. Perimeter


 Missing Wall                                                   7'5" X8'                            Opens into Exterior


                                              Subroom: Closet (3)                                                                      Height: 8'


       41                             I
                                                                97.33 SF Walls
                                                            105.50 SF Walls & Ceiling
                                                                                                                     8.17 SF Ceiling
                                                                                                                 8.17 SF Floor
                 Closet           )
                                                              0.91 SYFloonng                                    12.17 LF Floor Perimeter
                                                             12.17 LF Ceil. Perimeter
         T                            I
                          T
             L

 DESCRIPTION                                              QTY          REMOVE           REPLACE               TAX              O&P         TOTAL

 Ceiling fan - Detach &reset                          1.00 EA                0.00          172.73             0.00             34.54       207.27
 R&R Batt insulation- 10" -R30            -         108.94 SF                0.38            1.37             6.71             39.48       236.84
 unlaced batt
 R&R 5/8" drywall hung, taped,-                     108.94 SF                0.45            2.86             4.42             73.00        438.01
 floated, ready for paint
 Acoustic ceiling (popcorn) texture                 108.94 SF                0.00            1.21             0.46             26.46        158.74
 Outlet or switch Detach & reset
                      -                               4.00 EA                0.00           17.40             0.00             13.92         83.52
 Mask wall - plastic, paper, tape (per LF)           48.75 LF                0.00            1.58             0.89             15.58         93.50
 R&R Crown molding -3 1/4"                           48.75 LF                0.71            4.42             5.36             51.10        306.55
 Seal &paint crownmolding - two coats                48.75 LF                0.00            1.32             0.48             12.98         77.81
 Drywall patch/small repair, ready for                1.00 EA                0.00           91.68             0.20             18.38        110.26
 paint
 Texture drywall                                    390.00 SF                0.00            1.60             3.55            125.52        753.07
 Seal the walls and ceiling w/latex based           498.94 SF                0.00            0.52             2.45             52.40        314.30
 stain blocker one coat
                  -



 Paint the walls and ceiling - two coats            498.94 SF                0.00            0.87             8.73             88.56        531.37
 Paint door/window trim &jamb                         1.00 EA                0.00           27.35             0.34              5.54         33.23
 Paint door slab only                                 1.00 EA                0.00           33.27             0.58              6.78         40.63
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                               1558 NE 1262nd Street, Unit A
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                                                                  CONTINUED Bedroom 1
                                                                                    -




 DESCRIPTION                                              QTY          REMOVE           REPLACE     TAX               O&P         TOTAL

 Doorknob/lockset - Detach&reset                     1.00 EA                 0.00           22.18    0.00              4.44         26.62
 Floor protection self-adhesive plastic
                           -                       108.94 SF                 0.00            0.57    1.07             12.64         75.81
 film
 Paintbaseboard - one coat                          48.75 LF                 0.00            0.82    0.31              8.06         48.35
 Clean floor                                       108.94 SF                 0.00            0.36    0.00              7.84         47.06

 Totals: Bedroom 1                                                                                  35.55            597.22       3,582.94




                                             Bathroom                                                                         Height: 8'

                   8' 6"                                       218.67 SF Walls                         43.92 SF Ceiling
                 Bathroom                                      262.58 SF Walls & Ceiling               43.92 SF Floor
                                                                 4.88 SYFlooring                       27.33 LF Floor Perimeter
                                                                27.33 LF Ceil. Perimeter
      I


 DESCRIPTION                                              QTY          REMOVE           REPLACE     TAX               O&P         TOTAL

 No visible damage to this room.

 Totals: Bathroom                                                                                    0.00              0.00          0.00


               Bathroom

                   6"           Z2 6"C       Bedroom 2                                                                        Height: 8'

          cl                                                   338.67 SF Walls                        110.44 SF Ceiling
          t                                                    449.11 SF Walls & Ceiling              110.44 SF Floor
                  Bedroom 2
                                                                12.27 SYFloonng                        42.33 LF Floor Perimeter
                                                                42.33 LF Ceil. Perimeter
          -4'6"---1            I-4' 10



                                             Subroom: Closet (1)                                                              Height: 8'

                               1 I                             110.67 SF Walls                              9.83 SF Ceiling
                  Cset           E                             120.50 SF Walls & Ceiling                9.83 SF Floor
                      I
                                                                 1.09 SYFloonng                        13.83 LF Floor Perimeter
                      IN           I
                                                                13.83 LF Ceil. Perimeter



 DESCRIPTION                                              QTY          REMOVE           REPLACE     TAX               O&P         TOTAL

 Ceiling fan - Detach &reset                         1.00 EA                 0.00          172.73    0.00             34.54        207.27


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                                                                             CONTINUED Bedroom 2
                                                                                               -




 DESCRIPTION                                                         QTY          REMOVE           REPLACE     TAX            O&P            TOTAL

 R&R Batt insulation- 10" -R30                        -        120.28 SF                0.38            1.37    7.41         43.58            261.48
 unlaced batt
 R&R 5/8" drywall hung, taped,   -                             120.28 SF                0.45            2.86    4.88          80.60           483.61
 floated, ready for paint
 Acoustic ceiling (popcorn) texture                            120.28 SF                0.00            1.21    0.51         29.20            175.25
 Window blind - horizontal or vertical-                          1.00 EA                0.00           33.23    0.00           6.64            39.87
 Detach & reset
 Window drapery hardware Detach
                             -                -                  1.00 EA                0.00           33.23    0.00           6.64            39.87
 & reset
 Window drapery - remove andrehang -                             1.00 HR                0.00           55.79    0.00          11.16            66.95
 per hour
 Outlet or switch Detach & reset
                         -                                       4.00 EA                0.00           17.40    0.00          13.92            83.52
 Mask wall - plastic, paper, tape (per LF)                      56.17 LF                0.00            1.58    1.02          17.96           107.73
 Drywall patch/small repair, ready for                           1.00 EA                0.00           91.68    0.20          18.38           110.26
 paint
 Texture drywall                                               449.33 SF                0.00            1.60    4.09        144.60            867.62
 Seal the walls and ceiling w/latex based                      569.61 SF                0.00            0.52    2.79          59.80           358.79
 stain blocker one coat
                  -



 Paint the walls and ceiling - two coats                       569.61 SF                0.00            0.87    9.97        101.12            606.65
 Paint door/window trim &jamb                                    1.00 EA                0.00           27.35    0.34           5.54            33.23
 Paint door slab only                                            1.00 EA                0.00           33.27    0.58           6.78            40.63
 Doorknob/lockset - Detach&reset                                 1.00 EA                0.00           22.18    0.00           4.44            26.62
 Floor protection self-adhesive plastic
                         -                                     120.28 SF                0.00            0.57    1.18          13.96            83.70
 film
 Paintbaseboard - one coat                                      56.17 LF                0.00            0.82    0.35           9.30            55.71
 Clean floor                                                   120.28 SF                0.00            0.36    0.00           8.66            51.96

 Totals: Bedroom 2                                                                                             33.32         616.82          3,700.72




                                                          Master Bedroom                                                                Height: 8'
                                             cMastei
                                                                       445.33 SF Walls                           185.65 SF Ceiling
                      r Bedroom        -
                                                                       630.98 SF Walls & Ceiling                 185.65 SF Floor
                                                  sterI                    20.63 SYFlooring                       55.67 LF Floor Perimeter
                       +3' io"_12' 6" I
                         38-I           1'
                                                                           55.67 LF Ceil. Perimeter
     L Bathroom



 DESCRIPTION                                                         QTY          REMOVE           REPLACE     TAX            O&P            TOTAL

 Ceiling fan - Detach &reset                                     1.00 EA                0.00          172.73    0.00          34.54           207.27
 R&R Batt insulation- 10" -R30                        -        185.65 SF                0.38            1.37   11.44          67.26           403.59
 unlaced batt

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                            Advocate Public Adjusting
                            1558 NE 1262nd Street, Unit A
                            Noth Miami, FL 33162


                                                                    CONTINUED Master Bedroom
                                                                                  -




 DESCRIPTION                                                  QTY          REMOVE         REPLACE      TAX            O&P            TOTAL

 R&R 5/8" drywall hung, taped,
                            -                           185.65 SF                0.45           2.86    7.54        124.40            746.44
 floated, ready for paint
 Acoustic ceiling (popcorn) texture                     185.65 SF                0.00           1.21    0.78         45.08            270.50
 Window blind - horizontal or vertical-                   1.00 EA                0.00          33.23    0.00           6.64            39.87
 Detach & reset
 Outlet or switch Detach & reset
                        -                                 4.00 EA                0.00          17.40    0.00         13.92             83.52
 Mask wall - plastic, paper, tape (per LF)               55.67 LF                0.00           1.58    1.01         17.80            106.77
 Drywall patch/small repair, ready for                    1.00 EA                0.00          91.68    0.20         18.38            110.26
 paint
 Texture drywall                                        445.33 SF                0.00           1.60    4.05        143.32            859.90
 Seal the walls and ceiling w/latex based               630.98 SF                0.00           0.52    3.09         66.24            397.44
 stain blocker one coat
                 -



 Paint the walls and ceiling two coats-                 630.98 SF                0.00           0.87   11.04        112.00            671.99
 Paint door/window trim &jamb                             1.00 EA                0.00          27.35    0.34           5.54            33.23
 Paint door slab only                                     1.00 EA                0.00          33.27    0.58           6.78            40.63
 Doorknob/lockset - Detach&reset                          1.00 EA                0.00          22.18    0.00           4.44            26.62
 Floor protection- self-adhesive plastic                185.65 SF                0.00           0.57    1.82         21.52            129.16
 film
 Paintbaseboard - one coat                               55.67 LF                0.00           0.82    0.35           9.22            55.22
 Clean floor                                            185.65 SF                0.00           0.36    0.00         13.36             80.19

 Totals: Master Bedroom                                                                                42.24         710.44          4,262.60




        I               8' 6"             I       Master Closet
                        8'2"
                                                                  225.33 SF Walls                         42.26 SF Ceiling
                 Master Closet                                    267.60 SF Walls & Ceiling               42.26 SF Floor
                                                                    4.70 SY Flooring                      28.17 LF Floor Perimeter


       r       4' 10"

               77:::::"
                                 3'
                                                                    28.17 LF Ceil. Perimeter



 DESCRIPTION                                                  QTY          REMOVE         REPLACE      TAX            O&P            TOTAL

 Light fixture - Detach& reset                            1.00 EA                0.00          48.50    0.00           9.70            58.20
 R&R Batt insulation- 10" -R30                -          42.26 SF                0.38           1.37    2.60         15.32             91.88
 unlaced batt
 R&R 5/8" drywall hung, taped,
                            -                            42.26 SF                0.45           2.86    1.72         28.32            169.92
 floated, ready for paint
 Drywall patch/small repair, ready for                    1.00 EA                0.00          91.68    0.20         18.38            110.26
 paint
 Texture drywall                                        267.60 SF                0.00           1.60    2.44         86.12            516.72


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                                            Advocate Public Adjusting
                                            1558 NE 1262nd Street, Unit A
                                            Noth Miami, FL 33162


                                                                                            CONTINUED Master Closet
                                                                                                           -




 DESCRIPTION                                                                         QTY          REMOVE         REPLACE       TAX            O&P            TOTAL

 Shelving wire (vinyl coated) Detach
                   -                                              -             20.92 LF                0.00           10.04    0.00         42.00            252.04
 & reset
 Outlet or switch Detach & reset        -                                        1.00 EA                0.00           17.40    0.00           3.48            20.88
 Mask wall plastic, paper, tape (per LF)
                           -                                                    28.17 LF                0.00            1.58    0.51           9.00            54.02
 Seal the walls and ceiling w/latex based                                      267.60 SF                0.00            0.52    1.31         28.10            168.56
 stain blocker one coat            -



 Paint the walls and ceiling - two coats                                       267.60 SF                0.00            0.87    4.68         47.50            284.99
 Paint door/window trim &jamb                                                    1.00 EA                0.00           27.35    0.34           5.54            33.23
 Paint door slab only                                                            1.00 EA                0.00           33.27    0.58           6.78            40.63
 Doorknob/lockset - Detach&reset                                                 1.00 EA                0.00           22.18    0.00           4.44            26.62
 Floor protection self-adhesive plastic -                                       42.26 SF                0.00            0.57    0.41           4.90            29.40
 film
 Paintbaseboard - one coat                                                      28.17 LF                0.00            0.82    0.18           4.66            27.94
 Clean floor                                                                    42.26 SF                0.00            0.36    0.00           3.04            18.25

 Totals: Master Closet                                                                                                         14.97         317.28          1,903.54




                                                              I           Master Bathroom                                                               Height: 8'
              __



                                                                                       226.67 SF Walls                            45.14 SF Ceiling
                                                                                       271.81 SF Walls & Ceiling                  45.14 SF Floor
                               Master Bathroom
                                                                                         5.02 SY Flooring                         28.33 LF Floor Perimeter
                                                                                           28.33 LF Ceil. Perimeter
 IQ                                    8'4"




 DESCRIPTION                                                                         QTY          REMOVE         REPLACE       TAX            O&P            TOTAL

 R&R Batt insulation 10" R30                          -   -           -         45.14 SF                0.38            1.37    2.78         16.36             98.13
 unfaced batt
 R&R 5/8" drywall hung, taped,                -                                 45.14 SF                0.45            2.86    1.83          30.24           181.48
 floated, ready for paint
 R&R Acoustic ceiling (popcorn)                                                 45.14 SF                0.49            1.21    0.19         15.38             92.31
 texture
 1/2" water rock (greenboard) hung,                                             43.50 SF                0.00            2.50    1.92         22.14            132.81
 taped ready for texture
 Texture drywall                                                               181.33 SF                0.00            1.60    1.65          58.36           350.14
 Cabinetry upper (wall) units Detach
                       -                                          -              4.10 LF                0.00           61.95    0.00          50.80           304.80
 & reset
 Mirror plate glass Detach & reset
          -                                       -                              3.30 SF                0.00            5.98    0.00           3.94            23.67
 Sink faucet Detach & reset    -                                                 1.00 EA                0.00          129.16    0.00         25.84            155.00
 Sink single Detach & reset
      -                            -                                             1.00 EA                0.00          161.04    0.00          32.20           193.24
 Vanity Detach & reset
           -                                                                     4.10 LF                0.00           61.95    0.00          50.80           304.80
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                                            Advocate Public Adjusting
                                            1558 NE 1262nd Street, Unit A
                                            Noth Miami, FL 33162


                                                                            CONTINUED Master Bathroom
                                                                                      -




 DESCRIPTION                                                             QTY      REMOVE     REPLACE      TAX          O&P      TOTAL

 Toilet - Detach& reset                                             1.00 EA           0.00      261.49     0.44       52.38      314.31
 Outlet or switch Detach & reset        -                           1.00 EA           0.00       17.40     0.00        3.48       20.88
 Mask wall - plastic, paper, tape (per LF)                       28.33 LF             0.00        1.58     0.52         9.06       54.34
 Seal part of the walls w/latex based                           226.47 SF             0.00        0.52     1.11       23.78      142.65
 stain blocker one coat
                    -



 Paint part of the walls - two coats                            226.47 SF             0.00        0.87     3.96       40.20      241.19
 Paint door/window trim &jamb                                       1.00 EA           0.00       27.35     0.34         5.54       33.23
 Paint door slab only                                               1.00 EA           0.00       33.27     0.58        6.78        40.63
 Doorknob/lockset - Detach&reset                                    1.00 EA           0.00       22.18     0.00        4.44       26.62
 Floor protection self-adhesive plastic -                        45.14 SF             0.00        0.57     0.44         5.22       31.39
 film
 Paintbaseboard - one coat                                       28.33 LF             0.00        0.82     0.18        4.68       28.09
 Clean floor                                                     45.14 SF             0.00        0.36     0.00        3.26        19.51

 Totals: Master Bathroom                                                                                  15.94      464.88     2,789.22

 Total: Main Level                                                                                       413.91     6,448.94   38,691.64




                                                          General

 DESCRIPTION                                                             QTY      REMOVE     REPLACE      TAX          O&P      TOTAL

 Off-site storage & insur. climate                -             800.00 SF             0.00        0.92    17.66      147.20      900.86
 controlled per month
            -



 Added for a 800 SF unit for 1 months.
 Bubble Wrap Add-on cost for fragile
                        -                                      1,200.00 LF            0.00        0.22    18.48       56.50      338.98
 items
 General clean up           -                                    24.00 HR             0.00       36.07     0.02      173.14     1,038.84
 Inventory, Packing, Boxing, and                                    16.00 HR          0.00       32.26     0.00      103.24      619.40
 Moving charge per hour             -



 Provide furniture heavyweight                                      30.00 EA          0.00       16.97    35.64      108.94      653.68
 blanket/pad
 Temporary power usage (per month)                                  2.00 MO           0.00      135.69    19.00       58.08      348.46
 Electrician per hour
                -                                               165.00 HR             0.00       90.63     0.00    2,990.80    17,944.75
 Cleaning Technician per hour                 -                  48.00 HR             0.00       36.06     0.00      346.18     2,077.06
 2 Tech for 24 hours.
 Dumpster load Approx. 40 yards, 7-8
                                -                                   1.00 EA         704.00        0.00     0.00      140.80      844.80
 tons of debris
 Residential Supervision / Project                                  8.00 HR           0.00       58.32     0.00       93.32      559.88
 Management per hour-



 R&R Sheathing plywood 1/2" CDX         -             -         128.00 SF             0.60        3.30   21.86       104.22      625.28

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                                                             CONTINUED General -




 DESCRIPTION                                         QTY         REMOVE             REPLACE                TAX            O&P            TOTAL

 To protect driveway/walkways due to dumpster placement and construction operations.
 A complete pack out of affected areas figured due to the scope of repairs. If contents were left, they would need to be moved multiple times
 adding additional liability and work.
 Provide wardrobe box & tape large
                               -                8.00 EA                 0.00                 20.04        11.22          34.30            205.84
 size
 Provide mirror/picture box, packing          15.00 EA                  0.00                  8.00          8.40         25.68            154.08
 paper & tape
 Providebox,packingpaper&tape -               35.00 EA                  0.00                  4.48          3.77         31.36            191.93
 large size
 Boxes and furniture pads are based off of an approximation of contents. Actual quantities may vary.
 Moving van (21-27') and equipment     -        2.00 EA                 0.00                180.00          0.00         72.00            432.00
 per day
 Above line item added for trip to remove content items and trip to return content items.
 Taxes, insurance, permits &fees (Bid           1.00 EA                 0.00           5,204.50             0.00           0.00          5,204.50
 Item)

 Totals: General                                                                                         136.05        4,485.76         32,140.34

 Labor Minimums Applied

 DESCRIPTION                                         QTY         REMOVE             REPLACE                TAX            O&P            TOTAL

 Door labor minimum                             1.00 EA                 0.00                 82.60          0.00         16.52              99.12
 Heat, vent, & air cond. labor minimum          1.00 EA                 0.00                175.61          0.00         35.12            210.73

 Totals: Labor Minimums Applied                                                                             0.00          51.64           309.85

 Line Item Totals: APA-DELMAR-SCOTT-2                                                                   2,294.00      23,083.36        143,723.28



 Grand Total Areas:
       4,697.50 SF Walls                               1,825.63 SF Ceiling                           6,523.13 SF Walls and Ceiling
       1,827.45 SF Floor                                 203.05 SY Flooring                            551.75 LF Floor Perimeter
           0.00 SF Long Wall                               0.00 SF Short Wall                          592.94 LF Ceil. Perimeter


       1,827.45 Floor Area                             1,960.59 Total Area                           4,697.50 Interior Wall Area
       2,319.47 Exterior Wall Area                       229.33 Exterior Perimeter of
                                                                Walls

       3,057.31 Surface Area                              30.57 Number of Squares                      273.37 Total Perimeter Length
         124.21 Total Ridge Length                         0.00 Total Hip Length




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                    Advocate Public Adjusting
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 Coverage                                           Item Total        %     ACV Total                %
 Dwelling                                            138,652.23   96.47%     138,652.23          96.47%
 Other Structures                                      3,458.99    2.41%       3,458.99           2.41%
 Contents                                              1,612.06    1.12%       1,612.06           1.12%
 Total                                               143,723.28   100.00%    143,723.28          100.00%




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                                                  Summary for Dwelling
 Line Item Total                                                                      114,306.50
 Material Sales Tax                                                                     2,086.12

 Subtotal                                                                             116,392.62
 Overhead                                                                              11,119.09
 Profit                                                                                11,119.09
 Laundering Tax                                                                            21.43

 Replacement Cost Value                                                              $138,652.23
 Net Claim                                                                           $138,652.23




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                Advocate Public Adjusting
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                                                Summary for Other Structures
 Line Item Total                                                                           2,750.16
 Material Sales Tax                                                                          132.33

 Subtotal                                                                                  2,882.49
 Overhead                                                                                    288.25
 Profit                                                                                      288.25

 Replacement Cost Value                                                                   $3,458.99
 Net Claim                                                                                $3,458.99




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                Advocate Public Adjusting
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                                                Summary for Contents
 Line Item Total                                                                      1,289.26
 Material Sales Tax                                                                     54.12

 Subtotal                                                                             1,343.38
 Overhead                                                                               134.34
 Profit                                                                                 134.34

 Replacement Cost Value                                                              $1,612.06
 Net Claim                                                                           $1,612.06




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                                         Recap of Taxes, Overhead and Profit




         Overhead (10%)        Profit (10%)    Material Sales Tax Laundering Tax (2%)   Manuf. Home Tax   Storage Rental Tax
                                                            (7%)                                  (6%)                 (7%)

 Line Items
               11,541.68          11,541.68             2,272.57               21.43               0.00                 0.00

 Total
               11,541.68          11,541.68             2,272.57               21.43               0.00                 0.00




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                  Advocate Public Adjusting
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                                                  Recap by Room

Estimate: APA-DELMAR-SCOTT-2
       Front Elevation                                                      11,176.49    9.44%
           Coverage: Dwelling                                100.00%    =   11,176.49
       Right Elevation                                                        535.05     0.45%
           Coverage: Dwelling                                100.00%    =     535.05

Area: Left Elevation                                                         1,058.64    0.89%
           Coverage: Dwelling                                100.00%    =    1,058.64
       Rear Elevation                                                       13,556.26    11.45%
           Coverage: Dwelling                                100.00%    =   13,556.26

       Area Subtotal: Left Elevation                                        14,614.90    12.35%
           Coverage: Dwelling                                100.00%    =   14,614.90

Area: Roof
       Shingle Roof                                                         28,388.10    23.99%
           Coverage: Dwelling                                100.00%    =   28,388.10

       Area Subtotal: Roof                                                  28,388.10    23.99%
           Coverage: Dwelling                                100.00%    =   28,388.10
       Exterior                                                              4,025.85    3.40%
           Coverage: Dwelling                                 3 1.69%   =    1,275.69
           Coverage: Other Structures                         68.31%    =    2,750.16

Area: Main Level
       Entry/Foyer                                                           4,726.18    3.99%
           Coverage: Dwelling                                100.00%    =    4,726.18
       Living Room                                                           3,385.93    2.86%
           Coverage: Dwelling                                100.00%    =    3,385.93
       Kitchen                                                               1,535.48    1.30%
           Coverage: Dwelling                                100.00%    =    1,535.48
       Family Room                                                           5,223.34    4.41%
           Coverage: Dwelling                                100.00%    =    5,223.34
       Family/Closet                                                         1,437.38    1.21%
           Coverage: Dwelling                                100.00%    =    1,437.38
       Laundry Room                                                          2,130.12    1.80%
           Coverage: Dwelling                                100.00%    =    2,130.12
       Bedroom 1                                                             2,950.17    2.49%
           Coverage: Dwelling                                100.00%    =    2,950.17
       Bedroom 2                                                             3,050.58    2.58%
           Coverage: Dwelling                                100.00%    =    3,050.58
       Master Bedroom                                                        3,509.92    2.97%
           Coverage: Dwelling                                100.00%    =    3,509.92
       Master Closet                                                         1,571.29    1.33%
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                Advocate Public Adjusting
                1558 NE 1262nd Street, Unit A
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           Coverage: Dwelling                       100.00%   =          1,571.29
        Master Bathroom                                                  2,308.40     1.95%
           Coverage: Dwelling                       100.00%   =          2,308.40

        Area Subtotal: Main Level                                       31,828.79    26.89%
           Coverage: Dwelling                       100.00%   =         31,828.79
        General                                                         27,518.53    23.25%
           Coverage: Dwelling                        95.31%   =         26,229.27
           Coverage: Contents                         4.69%   =          1,289.26
        Labor Minimums Applied                                             258.21     0.22%
           Coverage: Dwelling                       100.00%   =            258.21

Subtotal of Areas                                                      118,345.92    100.00%
           Coverage: Dwelling                        96.59%   =        114,306.50
           Coverage: Other Structures                 2.32%   =          2,750.16
           Coverage: Contents                         1.09%   =          1,289.26


Total                                                                  118,345.92    100.00%




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               Advocate Public Adjusting
               1558 NE 1262nd Street, Unit A
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                                                   Recap by Category

 O&P Items                                                                Total         %
 APPLIANCES                                                                215.98   0.15%
    Coverage: Dwelling                         @     100.00%   =           215.98
 AWNINGS & PATIO COVERS                                                 15,375.90   10.70%
    Coverage: Dwelling                         @     100.00%   =        15,375.90
 CABINETRY                                                                508.00    0.35%
    Coverage: Dwelling                         @     100.00%   =          508.00
 CONT: GARMENT & SOFT GOODS CLN                                           892.80    0.62%
    Coverage: Dwelling                         @     100.00%   =          892.80
 CLEANING                                                                4,626.24   3.22%
    Coverage: Dwelling                         @     100.00%   =         4,626.24
 CONT: PACKING,HANDLNG,STORAGE                                           1,929.58   1.34%
    Coverage: Dwelling                         @      33.18%   =           640.32
    Coverage: Contents                         @      66.82%   =         1,289.26
 GENERAL DEMOLITION                                                      8,442.00   5.87%
    Coverage: Dwelling                         @      97.65%   =         8,243.34
    Coverage: Other Structures                 @       2.35%   =           198.66
 DOORS                                                                    583.48    0.41%
    Coverage: Dwelling                         @     100.00%   =          583.48
 DRYWALL                                                                11,260.93    7.84%
    Coverage: Dwelling                         @     100.00%   =        11,260.93
 ELECTRICAL                                                             15,632.55   10.88%
    Coverage: Dwelling                         @     100.00%   =        15,632.55
 ELECTRICAL SPECIAL SYSTEMS
                -                                                         119.69    0.08%
    Coverage: Dwelling                         @     100.00%   =          119.69
 FINISH CARPENTRY I TRIMWORK                                              565.63    0.39%
    Coverage: Dwelling                         @     100.00%   =          565.63
 FINISH HARDWARE                                                          243.98    0.17%
    Coverage: Dwelling                         @     100.00%   =          243.98
 FRAMING & ROUGH CARPENTRY                                                422.40    0.29%
    Coverage: Dwelling                         @     100.00%   =          422.40
 HEAT, VENT & AIR CONDITIONING                                            214.01    0.15%
    Coverage: Dwelling                         @     100.00%   =          214.01
 INSULATION                                                              1,183.71   0.82%
    Coverage: Dwelling                         @     100.00%   =         1,183.71
 LABOR ONLY                                                               466.56    0.32%
    Coverage: Dwelling                         @     100.00%   =          466.56
 LIGHT FIXTURES                                                          1,108.02   0.77%
    Coverage: Dwelling                         @     100.00%   =         1,108.02
 MIRRORS & SHOWER DOORS                                                  2,164.93   1.51%
    Coverage: Dwelling                         @     100.00%   =         2,164.93
 PLUMBING                                                                 551.69    0.38%
    Coverage: Dwelling                         @     100.00%   =          551.69


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 O&P Items                                                                     Total         %
 PAINTING                                                                   10,963.43    7.63%
    Coverage: Dwelling                            @   100.00%   =           10,963.43
 ROOFING                                                                    21,206.37   14.76%
    Coverage: Dwelling                            @   100.00%   =           21,206.37
 SCAFFOLDING                                                                   816.41    0.57%
    Coverage: Dwelling                            @   100.00%   =              816.41
 SOFFIT, FASCIA, & GUTTER                                                    2,651.69    1.84%
    Coverage: Dwelling                            @   100.00%   =            2,651.69
 TEMPORARY REPAIRS                                                             271.38    0.19%
    Coverage: Dwelling                            @   100.00%   =              271.38
 WINDOWS ALUMINUM
             -                                                               7,895.64    5.49%
    Coverage: Dwelling                            @   100.00%   =            7,895.64
 WINDOW TREATMENT                                                              276.92    0.19%
    Coverage: Dwelling                            @   100.00%   =              276.92
 EXTERIOR STRUCTURES                                                         2,551.50    1.78%
    Coverage: Other Structures                    @   100.00%   =            2,551.50
 O&P Items Subtotal                                                        113,141.42    78.72%

 Non-O&P Items                                                                 Total         %
                                                                             5,204.50    3.62%
     Coverage: Dwelling                           @   100.00%   =            5,204.50
 Non-O&P Items Subtotal                                                      5,204.50     3.62%
 O&P Items Subtotal                                                        113,141.42    78.72%
 Material Sales Tax                                                          2,272.57     1.58%
     Coverage: Dwelling                           @   91.80%    =            2,086.12
     Coverage: Other Structures                   @    5.82%    =              132.33
     Coverage: Contents                           @    2.38%    =               54.12
 Overhead                                                                   11,541.68    8.03%
     Coverage: Dwelling                           @   96.34%    =           11,119.09
     Coverage: Other Structures                   @    2.50%    =              288.25
     Coverage: Contents                           @    1.16%    =              134.34
 Profit                                                                     11,541.68    8.03%
     Coverage: Dwelling                           @   96.34%    =           11,119.09
     Coverage: Other Structures                   @    2.50%    =              288.25
     Coverage: Contents                           @    1.16%    =              134.34
 Laundering Tax                                                                 21.43    0.01%
     Coverage: Dwelling                           @   100.00%   =               21.43

 Total                                                                     143,723.28   100.00%




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         IN THE CIRCUIT COURT OF THE 1ST JUDICIAL CIRCUIT, IN AND FOR
                         SANTA ROSA COUNTY, FLORIDA

                                                       GENERAL     JURISDICTION      DIVISION
                                                       CASE NO.:

DELMAR SCOTT MEYER,

        Plaint



AMERICAN             SECURITY        INSURANCE
COMPANY,

        Defendant,
                                                   /

                 NOTICE OF DESIGNATION OF E-MAIL ADDRESSES

        The Insurance Litigation Group, PA., counsel for the Plaintiff, DELMAR SCOTT

MEYER, pursuant to Florida Rules of Judicial Administration 2.516 (b)(1)(a), designates the

following primary and secondary e-mail addresses for e-mail service in the above-referenced

case:

                      Primary:      sewiceilgpa.com
                      Secondary:    milton(ilgpa. com


                                CERTIFICATE OF SERVICE

        I CERTIFY that the forgoing document was served with the Complaint.

                                             INSURANCE LITIGATION GROUP, P.A.
                                             Attorneyfor Plaintiff
                                             1500 N.E. 162nd Street
                                             Miami, Florida 33162
                                             Telephone: (786) 529-0090
                                             Facsimile: (866) 239-9520
                                             E-Mail: service@ILGPA.COM

                                             By:       /5/ Milton B Grey
                                                       MILTON B GREY, ESQ.
                                                       FL Bar No. 0116560
                                                       LEVI GLICK, ESQ.
                                                       FLBarNo. 1010718
                                                                                    ILG File #: 27428
                                                                                Claim #: 00102857003
                                                                                              Case #:
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         IN THE CIRCUIT COURT OF THE 1ST JUDICIAL CIRCUIT, IN AND FOR
                         SANTA ROSA COUNTY, FLORIDA

                                                     GENERAL        JURISDICTION         DIVISION
                                                     CASE NO,:

DELMAR SCOTT MEYER,

        Plaint

vs.

AMERICAN             SECURITY          INSURANCE
COMPANY,

        Defendant,


         PLANTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT

        Plaintiff, DELMAR SCOTT MEYER, by and through their undersigned attorney, and

pursuant to Rule 1.350, Fla. R. Civ. P., requests Defendant, AMERICAN SECURITY

INSURANCE COMPANY, to furnish copies of the following documents to the offices of the

undersigned attorney within forty-five (45) days from the date of service of this request.

                            DEFINITIONS AND INSTRUCTIONS

        1.     The term "Plaintiff' or "Insured" means named insured, DELMAR SCOTT
MEYER, and his agents, employees, independent contractors, attorneys, and all other persons
acting or purporting to act on his behalf

       2.      The term "You" or "Defendant" means AMERICAN SECURITY INSURANCE
COMPANY, and its agents, employees, independent contractors, subsidiaries, divisions, parent
company, holding company, directors, officers, attorneys, and all other persons acting or
purporting to act on its behalf

        3.      The term "Policy" means the policy, number MLR08678665116, which
Defendant issued to Insured for the property located at 4281 Pace Lane, Pace, FL 32571 that was
in effect on the date of loss alleged in Plaintiff's Complaint filed in this action.




                                                                                        ILG File #: 27428
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        4.      The term "Insured Building" or "Insured Property" means the insured structure
and/or its contents located at the address described in Plaintiff's Complaint filed in this action.

       5.    The term "Loss" means the event at issue in which the Named Insured suffered
property damage, on the date of loss alleged in Plaintiff's Complaint.

        6.      The term "Claim" means the Plaintiff's request, made pursuant to Plaintiff's
insurance Policy, that Defendant pay Plaintiff the amount of damages that Plaintiff sustained as a
result of the Loss.

        7.     The term "person" means any natural person, individual, proprietorship,
partnership, corporation, association, organization, joint venture, firm, other business enterprise,
governmental body, group of natural persons or other entity.

        8.      The term "document" or "documents" means any written, typed, or graphic matter
or other means of preserving thought or expression and all tangible things from which
information can be processed or transcribed, including the originals and all non-identical copies,
whether different from the original by reason of any notation made on such copy or otherwise,
including, but not limited to, correspondence, emails, memoranda, notes, messages, letters,
telegrams, teletype, telefax, bulletins, meetings or other communications, interoffice and
intraoffice telephone calls, diaries, claim diaries, electronic claim notes, chronological data,
minutes, books, reports, studies, summaries, pamphlets, printed matter, charts, ledgers, invoices,
worksheets, receipts, returns, computer printouts, prospectuses, financial statements, schedules,
affidavits, contracts, canceled checks, statements, transcripts, statistics, surveys, magazine or
newspaper articles, releases (and all drafts, alterations and modifications, changes and
amendments of any of the foregoing), graphic or natural records or representations of any kind
(including without limitation photographs, photographic negative, microfiche, microfilm,
videotape, recordings, motion pictures, phonograph recordings, transcripts or log of such
recording, projection), electronic, computer, mechanical, or electric records or representations of
any kind (including without limitation tapes, cassettes, discs and records), and binders, cover
notes, certificates, analysis, study memoranda, note lists, diaries, logs, questionnaires, bills,
purchase orders, shipping orders, memorandum of contract, agreements, licenses, permits,
orders, financial data, acknowledgements, computer or data procession cards, computer or data
processing discs, and all other data compilations from which information can be obtained or
translated, reports and/or summaries of investigations, drafts and revisions of drafts of any
documents and original preliminary notes or sketches, no matter how produced or maintained, in
your actual or constructive possession, custody or control, whether prepared, published or
released by you or by any other person. If data is stored on computer or electronic media (inter-
company email, for example), produce hard copies of each such document." "Documents"
includes all attachments and enclosures.

                                                                                        ILG File #: 27428
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         9.   The term "all documents" means every document or group of documents, as
above defined, that are known to you or that can be located or discovered by reasonably diligent
efforts.

       10.    The term "coverage letter(s)" means the correspondence from You to the Named
Insured throughout the claim at issue regarding Your position as to coverage for the Loss.

       11.     As used herein, the singular shall include the plural, the plural shall include the
singular, and masculine feminine and neuter shall include each of the other genders.

        12.     The terms "relating to" or "in any way related to" means in whole or in part
constituting, containing, concerning, discussing, commending upon, describing, analyzing,
identifying, stating, pertaining to, referring to, or forming the basis of
        13.     The term "Prior Claim" means all claims submitted by or on behalf of an Insured
for damage occurring prior to the date of loss alleged in Plaintiff's Complaint, regarding the
Insured Building or Insured Property.

       14.     The term "Subsequent Claim" means all claims submitted by or on behalf of an
Insured for damage occurring after the date of loss alleged in Plaintiff's Complaint, regarding the
Insured Building or Insured Property.

          15.   The term "Plaintiff's Complaint means the complaint filed by Plaintiff in this
action.

       16.    This request shall be continuing in nature so as to require the filing of
supplemental answers to the extent required under Florida law,

                                              REQUESTS

          1.    A certified and complete copy of the Policy that Defendant issued to the Insured

that was in effect on or about September 16, 2020.

          2.    All documents reflecting Defendant's inspection(s) of the Insured Property after

September 16, 2020.

          3.    All documents reflecting Defendant's inspection(s) of the Insured Property before

September 16, 2020, covering the preceding five (5) years.




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       4.      All documents reflecting Defendant's inspection(s) of the Insured Property during

the Defendant's underwriting of the Insured's Policy.

       5.      All documents reflecting Defendant's inspection(s) of the Insured Property during

Defendant's underwriting of all insurance policies Defendant issued to the Insured for the

Insured Property prior to September 16, 2020.

       6.      All photographs and/or videos submitted by Plaintiff to Defendant in any way

related to the Loss.

       7.      All photographs and/or videos submitted by Defendant to Plaintiff in any way

related to the Loss.

       8.      All photographs and/or videos taken by Defendant in any way related to the Loss.

       9.      All correspondence, emails and all other documents provided by Plaintiff to

Defendant in any way related to the Loss.

       10.     All correspondence, emails and all other documents provided by Defendant to

Plaintiff in any way related to the Loss.

       11.     All documents reflecting Defendant's efforts to investigate the Loss.

       12.     All documents documenting or supporting Defendant's affirmative defenses, or

that Defendant anticipates will support Defendant's reasons for denying or failing to pay the full

amount of Plaintiff's Loss.

       13.     All documents, including but not limited to estimates, reports, testing,

photographs and/or videos created by Defendant, Defendant's adjusters, Defendant's loss

consultants, or by any expert retained by Defendant, including but not limited to plumbers,

engineers, and/or contractors in any way related to the Loss.




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        14.      All documents identified in Defendant's Answers to Plaintiff's First Set of

Interrogatories.

        15.      A current curriculum vitae and all biographical information for all person(s) who

inspected the Insured Property for or on behalf of Defendant following the Loss.

        16.      All documents in any way related to the damage caused to the Insured Property

from the alleged Loss.

        17.      All documents related to the Insured Property that support how Defendant

determined whether to pay Plaintiff's Claim, and/or how much of Plaintiff's Claim to pay.

        18.      All documents reflecting the relationship between Defendant and the adjuster (or

any other person or entity) that assisted Defendant in investigating, adjusting, and/or evaluating

Plaintiff's Claim.

        19.      All documents that support any denials by Defendant of Plaintiff's First Request

for Admissions.

        20.      All reports relating to the damage to the Insured Property sustained during or as a

result of the Loss.

        21.      All reports relating to the condition of the Insured Property before the Loss.

        22.      All reports relating to the condition of the Insured Property after the Loss,

        23.      All documents showing when Plaintiff notified Defendant of the Loss.

        24.      All electronic claim notes made by or on behalf of Defendant in any way relating

to the Loss, or to the condition of Insured Property at the time of Loss.

        25.      The part of Defendant's claim file that Defendant reasonably expects to rely upon

at trial in this action.




                                                                                          ILG File #: 27428
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          26.   The part of Defendant's claim file that Defendant reasonably expects to use at

trial in support of its affirmative defenses.

          27.   All documents that Defendant reasonably expects to rely upon at trial in this

action.

          28.   All documents that Defendant reasonably expects to use at trial in support of its

affirmative defenses.

          29.   The part of Defendant's claim file that supports the action taken by Defendant in

paying or refusing to pay Plaintiff's Claim.

          30.   All documents that support the action taken by Defendant in paying or refusing to

pay Plaintiff's Claim.

          31.   All estimates prepared by Defendant in any way related to the amount claimed by

Plaintiff in this action.

          32.   All estimates prepared by Defendant, its agents or independent contractors,

contractors, loss consultants, or third parties, that Defendant may use to support its reason for

non-payment or partial payment of Plaintiff's Claim.

          33.   All documents Defendant provided to the person(s) who investigated, adjusted or

otherwise evaluated Plaintiff's Claim.

          34.   All documents reflecting any communication between Defendant, and any of

Defendant's agents, independent adjusters, plumbers, engineers or any other person or entity

retained by Defendant, in any way related to Plaintiff's Claim.

          35.   All underwriting documents in any way relating to the condition of the Insured

Property before the Loss.




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       36.     The underwriting file kept by Defendant regarding the Insured Property dating

from the inception of Defendant's Policy on the Insured Premises through the present time.

       37.     All insurance applications the Insured submitted to Defendant regarding the

Insured Property.

       38.     All documents containing any facts supporting any of Defendant's affirmative

defenses.

       39.     All documents containing any facts supporting any of Defendant's reasons for

failing to pay and/or paying only part of Plaintiff's Claim.

       40.     All documents supporting any allegation or contention by Defendant that

Plaintiff's Claim is related to damages involving a prior claim made by Insured or prior damage

sustained by an Insured.

       41.     All documents supporting any allegation or contention by Defendant that

Plaintiff's Claim is related to damages involving a subsequent claim made by Insured or

subsequent damage sustained by an Insured.

       42.     All documents supporting any allegation or contention by Defendant that the

Insured's damages from the Loss are related to damages involving a prior claim made by the

Insured or prior damage sustained by an Insured.

       43.     All documents supporting any allegation or contention by Defendant that

Plaintiff's Claim is related to damages involving a subsequent claim made by the Insured or

subsequent damage sustained by an Insured.

       44.     All signed sworn proofs of loss submitted by the Insured to Defendant regarding

the Loss.




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       45.     Complete and legible copies of all building permits and all other records obtained

from the county or other municipality, applicable to the Insured Property covering a five-year

span prior to the Loss.

       46.     All documents evidencing all payments made by Defendant to the Insured and/or

for the Insured's benefit involving a Prior Claim made by Insured or prior damage sustained by

an Insured, involving the Insured Property.

       47.     All documents evidencing all payments made by Defendant to the Insured and/or

for the Insured's benefit involving a Subsequent Claim made by Insured or subsequent damage

sustained by an Insured, involving the Insured Property.

       48.     All documents evidencing all payments made by Defendant to the Insured and/or

for the Insured's benefit involving the claim for the same date of Loss alleged in the Complaint.

       49.     All correspondence and documents between Defendant and any third parties,

excluding Defendant's attorney, in any way related to (1) the condition of the Insured Property

before the Loss; or (2) the damage to the Insured Property sustained during the Loss.

       50.     All reports relating to Plaintiff's Claim or to the damages sustained to Insured

Property during or as a result of the Loss.

       51.     All documents showing or pertaining to any repairs made to the Insured Property

by or on behalf of the Insured prior to the Loss, including but not limited to repair invoices,

estimates, canceled checks, credit card receipts, contracts for repair, receipts, certificates of

completion, notices of commencement, special assessment notices, payment logs, building

permits and building permit applications.

       52.     All documents showing or pertaining to any repairs made to the Insured Property

by or on behalf of the insured after the Loss, including but not limited to repair invoices,


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estimates, canceled checks, credit card receipts, contracts for repair, receipts, certificates of

completion, notices of commencement, special assessment notices, payment logs, building

permits and building permit applications.

        53.      All transcripts of any Examinations Under Oath given or provided by the Insured

regarding the Loss.

        54.      All transcripts of any Examinations Under Oath given or provided by anyone

besides the Insured regarding the Loss.

        55.      All recorded statements given or provided by the Insured regarding the Loss.

This request seeks a copy of the recording itself, not Defendant's transcript of the recorded

statement.

        56.      All recorded statements given or provided by anyone besides the Insured

regarding the Loss. This request seeks a copy of the recording itself, not Defendant's transcript

of the recorded statement.

        57.      All Coverage Letters sent by Defendant to the Insured in any way related to the

Loss.

        58.      All transcripts of Examinations Under Oath and/or recordings of all recorded

statements given by the Insured regarding any prior or subsequent claims which Defendant may

use at trial in this case.



                             [The rest of this page is intentionally left blank]




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                           CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that the foregoing was served on Defendant with the Complaint.

                                    INSURANCE LITIGATION GROUP, P.A.
                                    Attorneyfor Plaintiff
                                    1500 N.E. 162nd Street
                                    Miami, Florida 33162
                                    Telephone: (786) 529-0090
                                    Facsimile:    (866) 239-9520
                                    E-Mail: service@ILGPA.COM

                                    By:   /5/ Milton B Grey
                                          MILTON B GREY, ESQ.
                                          FL Bar No. 0116560
                                          LEVI GLICK, ESQ.
                                          FLBarNo. 1010718




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      IN THE CIRCUIT COURT OF THE 1ST JUDICIAL CIRCUIT, IN AND FOR
                      SANTA ROSA COUNTY, FLORIDA

                                                     GENERAL        JURISDICTION
                                                     DIVISION CASE NO.:

DELMAR SCOTT MEYER,

       Plaint

vs.

AMERICAN            SECURITY           INSURANCE
COMPANY,

       Defendant,


         PLAINTIFF'S SET OF INTERROGATORIES TO DEFENDANT

       Plaintiff, DELMAR SCOTT MEYER, pursuant to Rule 1.340, Fla. R. Civ. P.,

serves this First Set of Interrogatories upon Defendant to be answered by Defendant

under oath and in writing, within forty-five (45) days from the date of service hereof.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing was served on Defendant with the

Complaint.

                                              INSURANCE LITIGATION GROUP, P.A.
                                              Attorneyfor Plaintiff
                                              1500 N.E. 162nd Street
                                              Miami, Florida 33162
                                              Telephone: (786) 529-0090
                                              Facsimile:    (866) 239-9520
                                              E-Mail: service@ILGPA.COM

                                              By:    /5/ Milton B Grey
                                                     MILTON B GREY, ESQ.
                                                     FL Bar No. 0116560
                                                     LEVI GLICK, ESQ.
                                                     FLBarNo. 1010718


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             INTERROGATORY DEFINITION AND INSTRUCTIONS

        1.      The term "Plaintiff' or "Insured" means DELMAR SCOTT MEYER and
his/her/their agents, employees, independent contractors, attorneys, and all other persons
acting or purporting to act on his/her/their behalf

         2.     The term "you" or "Defendant" means AMERICAN SECURITY
INSURANCE COMPANY, and its agents, employees, independent contractors,
subsidiaries, divisions, parent company, holding company, directors, officers, attorneys,
and all other persons acting or purporting to act on its behalf

        3.      The term "Policy" means the policy, number MLR08678665 116, which
Defendant issued to Insured for the property located at 4281 Pace Lane, Pace, FL 32571
that was in effect on the date of loss alleged in Plaintiff's Complaint filed in this action.

          4.   The term "Insured Building" or "Insured Property" means the insured
structure and/or its contents located at the address alleged in Plaintiff's Complaint filed in
this action.

        5.   The term "Loss" means the event at issue in which the Insured suffered
property damage, on the date of loss alleged in Plaintiff's Complaint.

         6.     The term "Claim" means the Plaintiff's request, made pursuant to
Plaintiff's insurance Policy, that Defendant pay Plaintiff the amount of damages that
Plaintiff sustained as a result of the Loss.

         7.    The term "coverage/denial letter" means any letter(s) sent by Defendant to
the Insured regarding his/her Claim.

         8.    The term "person" means any natural person, individual, proprietorship,
partnership, corporation, association, organization, joint venture, firm, other business
enterprise, governmental body, group of natural persons or other entity.

         9.    The term "document" or "documents" means any written, typed, or
graphic matter or other means of preserving thought or expression and all tangible things
from which information can be processed or transcribed, including the originals and all
non-identical copies, whether different from the original by reason of any notation made
on such copy or otherwise, including, but not limited to, correspondence, emails,
memoranda, notes, messages, letters, telegrams, teletype, telefax, bulletins, meetings or
other communications, interoffice and intraoffice telephone calls, diaries, claim diaries,
electronic claim notes, chronological data, minutes, books, reports, studies, summaries,
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pamphlets, printed matter, charts, ledgers, invoices, worksheets, receipts, returns,
computer printouts, prospectuses, financial statements, schedules, affidavits, contracts,
canceled checks, statements, transcripts, statistics, surveys, magazine or newspaper
articles, releases (and all drafts, alterations and modifications, changes and amendments
of any of the foregoing), graphic or natural records or representations of any kind
(including without limitation photographs, photographic negative, microfiche, microfilm,
videotape, recordings, motion pictures, phonograph recordings, transcripts or log of such
recording, projection), electronic, computer, mechanical, or electric records or
representations of any kind (including without limitation tapes, cassettes, discs and
records), and binders, cover notes, certificates, analysis, study memoranda, note lists,
diaries, logs, questionnaires, bills, purchase orders, shipping orders, memorandum of
contract, agreements, licenses, permits, orders, financial data, acknowledgements,
computer or data procession cards, computer or data processing discs, and all other data
compilations from which information can be obtained or translated, reports and/or
summaries of investigations, drafts and revisions of drafts of any documents and original
preliminary notes or sketches, no matter how produced or maintained, in your actual or
constructive possession, custody or control, whether prepared, published or released by
you or by any other person. If data is stored on computer or electronic media (inter-
company email, for example), produce hard copies of each such document."
"Documents" includes all attachments and enclosures.

        10. The term "all documents" means every document or group of documents,
as above defined, that are known to you or that can be located or discovered by
reasonably diligent efforts.

         11. As used herein, the singular shall include the plural, the plural shall
include the singular, and masculine feminine and neuter shall include each of the other
genders.

        12. The connectives "and" and "or" shall be construed either disjunctive or
conjunctively as necessary to bring within the scope of these requests all responses that
might otherwise be construed to be outside their scope.

         13. The terms "coverage letter(s)" means the correspondence from You to the
Insured throughout the claim at issue regarding Your position as to coverage for the Loss.

        14. The terms "relating to" or "in any way related to" means in whole or in
part constituting, containing, concerning, discussing, commending upon, describing,
analyzing, identifying, stating, pertaining to, referring to, or forming the basis of.

        15.   "Identify" and "identity" mean:
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               a.     With respect to a natural person, to state the person's name, title at
               the time in question, employer and business address at the time in
               question, and the current or last known employer, business address, and
               home address;
               b.     With respect to an organization or entity, to state the full legal
               name of the entity and full name by which the organization or entity is
               commonly known or does business;
               C.     With respect to a document, to state the name(s) and title(s) of the
               author(s) and/or signatory(ies), addressee(s), and recipient(s) of any
               copies; the subject matter or title; the date of the document; the division,
               department, or unit of your organization with which the author(s) and/or
               addressee(s) are or were affiliated; and its present location and custodian;
               and
               d.     With respect to an oral communication to state the names and titles
               of all persons involved in the communication, and the date and
               approximate time of the communication.

       16. This request shall be continuing in nature so as to require the filing of
supplemental interrogatory answers to the extent required by Florida law.

                                 INTERROGATORIES

        1.      State the name and address of the person(s) answering these
interrogatories, and, if applicable, the person's official position or relationship with the
party to whom the interrogatories are directed.

       2.     Describe any and all policies of insurance which you contend cover or
may cover the allegations set forth in Plaintiff's complaint, detailing as to such policies
the name of the insurer, the number of the policy, the available limits of liability, and the
name and address of the custodian of the policy.

        3.     State the date that Defendant first received any notice from Plaintiff and/or
the Insured concerning a claim for benefits under the Policy as a result of the Loss.

        4.     Identify all persons, believed or known by you, your agents, or attorneys
to have any knowledge concerning any of the issues raised in the pleadings, specifying
the subject matter about which the witness may have knowledge.

        5.     State whether you have obtained any statements (oral, written and/or
recorded) from any witness, the dates any such witness statements were taken, by whom
any such witness statements were taken, and who has present possession, custody and
control of any such statements.

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        6.      Does the Coverage/Denial letter specifically cite to each and every policy
provision and all facts upon which you are relying in connection with your decision to
deny, or otherwise not make full payment to Plaintiff for Plaintiff's Claim? If your
answer is anything other than an unqualified affirmative, identify all other Policy
provisions and facts upon which you are relying for your denial or partial payment of
Plaintiff's Claim.

        7.      Do you contend that all or any portion of the Loss is not covered by the
Policy(ies) issued by you? Unless your answer is an unqualified negative, please set
forth the specific amounts that you contend are not covered, and for each such amount,
all facts, including exclusions or other provisions of the Policy(ies), supporting your
contention that no coverage exists.

        8.     State each and every Policy provision and all facts related to each upon
which you are relying in connection with your decision to deny, or otherwise not make
full payment to Plaintiff, on Plaintiff's Claim.

       9.      With reference to each of your affirmative defenses raised in this lawsuit,
please describe all facts upon which you rely to substantiate such affirmative defense,
including identification of all witnesses to each such fact.

        10.     With reference to each of your affirmative defenses raised in this lawsuit,
please describe all documents and electronically stored information upon which you rely
to substantiate such affirmative defense.

        11.     Identify all persons involved on your behalf in determining whether to
afford coverage for Plaintiff's Claim. For each person identified, identify the person's
employer and explain the role of each person identified in determining whether to pay
Plaintiff's Claim.

       12.     Identify each document sent from Defendant to the Insured in reference to
the Loss involved herein, including the date sent and the name of the individual who sent
said communication.

       13.     Identify each person, who on behalf of Defendant, inspected the Insured
Property, including their field of expertise and date of each inspection.

        14.    With regard to any third parties (including all adjusters including your
direct employees, independent contractors, and all other persons or entities) who
provided services, analysis, adjusting, or otherwise rendered opinions to you in adjusting
or handling your determination of whether to pay Plaintiff's Claim, please identify: (a)
the date and nature of the services provided by each third party; (b) all documents you
provided to such third party; and (c) all documents such third party provided to you.




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         15.    Did the Defendant request the Insured to perform any post loss duties for
the Claim, including to submit to an Examination Under Oath, to submit a sworn proof of
loss, to permit inspection, etc.

         16.   If your answer to the preceding interrogatory was yes, please state for each
request, the exact request made, the date of the request, whether the request was written
or oral, and what did the Insured do in response to said request.

       17.    Please state with specificity any conditions subsequent to the Plaintiff's
Claim that you contend have not been fulfilled by the Plaintiff, if any exist.

       18.     Have you heard or do you know about any statement or remark made by
or on behalf of any party to this lawsuit, other than yourself, concerning any issue in this
lawsuit? If so, state and name and address of each person who made the statement or
statements, the name and address of each person who heard it, and the date, time, place
and substance of each statement.

       19.     State the name and address of every person known to you, your agents, or
your attorneys who has knowledge about, or possession, custody or control of, any
estimate, model, plat, map, drawing, motion picture, videotape, or photograph pertaining
to any fact or issue involved in this lawsuit; and describe as to each, what item such
person has, the name and address of the person who took or prepared it, and the date it
was taken or prepared.

       20.    List all amounts that Defendant has paid to the Insured, and/or for the
Insured's benefit, regarding the Loss. State the date each payment was made and what
each payment was for.

        21.    If an inspection of the Insured Property was performed within the past ten
(10) years on the Insured Property, state the nature of the inspection, the name and
address of any person who performed the inspection, the date of the inspection, and
whether any written reports or communications were prepared in connection with the
inspection, and whether any photographs or video was taken.

       22.      Identify all insurance claims made by the Insured over the past ten (10)
years. For each claim, identify the date of the claim, the amount of the claim, the
insurance carrier, the policy number, the basis of the claim, and how the claim was
resolved (e.g., payment, denial, still pending).

        23.    Do you contend any person or entity other than you is or may be, liable
                                                                      -



in whole or in part for the claims asserted against Defendant in this lawsuit? If so, state
the full name and address of each such person or entity, the legal basis for your
contention, the facts or evidence upon which your contention is based, and whether or not
you have notified each such person or entity of your contention




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        24.    If you claim that you were unable to pay Plaintiff's Claim because you
had insufficient information or the notice of Claim did not have sufficient support, state:
when you first realized that you had insufficient information, each and every effort made
by you to obtain the needed information, when you informed the Plaintiff of the need for
further information, and when you gave up trying to obtain the needed information.

        25.     If an appraisal of the Insured Property or its contents was performed, state
the items that have been appraised, the amount that each such item was appraised for, the
name and address of any person who performed or contributed to said appraisal, and the
date of said appraisal.




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       I have read the foregoing Answers to Interrogatories and do swear that they are true and
correct to the best of my knowledge and belief.



                                               VIN
                                               (Defendant)


STATE OF

COUNTY OF


       SUBSCRIBED and sworn to (or affirmed) before me this                 day of___________
20     ,   by                    ,   who is [ ] personally known or [ ] produced as identification
a                                           , and who [ ] did [did not] take an oath.

       Dated this      day of                        ,20




                                                           NOTARY PUBLIC,

                                                           State of

                                                           Commission Expires:




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